Case 1-17-01005-ess               Doc 245-12       Filed 07/13/20             Entered 07/13/20 14:41:38


JOHN HUPALO VOLUME I                                                                        November 19, 2019
GOLDEN vs NAT L COLLEGIATE STUDENT LOAN                                                                   1–4
                                                 Page 1                                                      Page 3
·1· · · · · · · · · · · · · · · · ·VOLUME:· ·I             ·1· ·Appearances, Cont.
· · · · · · · · · · · · · · · · · · PAGES: 124             ·2
·2· · · · · · · · · · · · · · · ·EXHIBITS:· ·8             ·3· ·David Fialkow, Esquire
·3                                                         ·4· · · · K&L GATES, LLP
·4· · · · · · · UNITED STATES BANKRUPTCY COURT             ·5· · · · State Street Financial Center
·5· · · · · · · ·EASTERN DISTRICT OF NEW YORK              ·6· · · · One Lincoln Street
·6· · · · · · · · · CASE NO. 16-40809-ess                  ·7· · · · Boston, MA· 02111
·7
                                                           ·8· · · · (617) 261-3126
·8· ·In Re:· Tashanna B. Golden f/k/a
                                                           ·9· · · · Counsel on behalf of Witness, John Hupalo
·9· ·Tashanna B. Pearson,
                                                           10
10· · · · Debtor
                                                           11
11· ·Tashanna B. Golden f/k/a
                                                           12
12· ·Tashanna B. Pearson
                                                           13
13· · · · Plaintiff
                                                           14
14· ·vs.
                                                           15
15· ·Nat'l Collegiate Student Loan
                                                           16
16· ·Trust 2005-3, et al.
                                                           17
17· · · · Defendants
                                                           18
18
19· · · · DEPOSITION OF JOHN HUPALO, a witness called on   19

20· ·behalf of the Debtor in the above-entitled cause,     20

21· ·taken before Laura Naylor, Notary Public in and for   21

22· ·the Commonwealth of Massachusetts, at One Lincoln     22

23· ·Street, Boston, Massachusetts, on Tuesday, November   23
24· ·19, 2018, commencing at 1:06 p.m.                     24

                                                 Page 2                                                      Page 4
·1· ·Appearances:                                          ·1· · · · · · · · · · · · · INDEX
·2· ·Peter N. Freiberg, Esquire                            ·2· ·WITNESS· · · ·DIRECT· ·CROSS· ·REDIRECT· ·RECROSS
·3· · · · JONES SWANSON HUDDELL & GARRISON                 ·3· ·JOHN HUPALO
·4· · · · 601 Poydras Street, Suite 2655                   ·4· ·By Mr. Freiberg· ·5
·5· · · · New Orleans, Louisiana· 70130                    ·5· ·By Mr. Fontinelli· · · ·119
·6· · · · (504) 523-2500                                   ·6
·7· · · · Counsel on behalf of the Plaintiff               ·7· · · · · · · · · · · · ·EXHIBITS
·8· · · · Tashanna B. Golden f/k/a Tashanna B. Pearson     ·8· ·No.· ·Description· · · · · · · · · · · · · · · ·Page
·9                                                         ·9· ·Exhibit No. 1, Term Sheet, marked for· · · · · · ·52
10· · Christopher Fontenelli, Esquire                      10· ·identification
11· · · · LOCKE LORD, LLP                                  11· ·Exhibit No. 2, Form 10D, marked for· · · · · · · ·64
12· · · · Brookfield Place                                 12· ·identification
13· · · · 200 Vesey Street, 20th Floor                     13· ·Exhibit No. 3, Master Loan Guaranty Agreement,· · 76
14· · · · New York, NY· 10281                              14· ·First Marblehead Corporation and Education
15· · · · (212) 912-2730                                   15· ·Resources, Inc., marked for identification
16· · · · Counsel on behalf of the Defendants              16· ·Exhibit No. 4, Database Sale and Supplementation· 76
17· · · · Nat'l Collegiate Student Loan                    17· ·Agreement, marked for identification
18· · · · Trust 2005-3, et al.                             18· ·Exhibit No. 5, Marketing Services Agreement,· · · 77
19                                                         19· ·marked for identification
20                                                         20· ·Exhibit No. 6, Master Service Agreement, TERI and 77
21                                                         21· ·First Marblehead Corporation, marked for
22                                                         22· ·identification
23                                                         23· ·Exhibit No. 7, First Marblehead 2006 Annual· · · 105
24                                                         24· ·Report and 10K marked for identification



                                                                                      800.211.DEPO (3376)
                                                                                      EsquireSolutions.com             YVer1f
Case 1-17-01005-ess             Doc 245-12            Filed 07/13/20           Entered 07/13/20 14:41:38


JOHN HUPALO VOLUME I                                                                            November 19, 2019
GOLDEN vs NAT L COLLEGIATE STUDENT LOAN                                                                       5–8
                                                     Page 5                                                           Page 7
·1· · · · · · · · · · · · ·EXHIBITS                           ·1· · · · · · ·THE VIDEOGRAPHER:· Thank you counsel.
·2· ·No.· ·Description· · · · · · · · · · · · · · · ·Page     ·2· ·Will the court reporter please swear in the witness
·3· ·Exhibit No. 8, First Marblehead 2008 Annual· · · 105     ·3· ·and then we may proceed.
·4· ·Report and 10K, marked for identification                ·4
·5                                                            ·5· · · · · · ·JOHN HUPALO, Deponent, having first
·6· ·** Original exhibits retained by Attorney Freiberg       ·6· ·been satisfactorily identified and duly sworn,
·7                                                            ·7· ·deposes and states as follows:
·8                                                            ·8
·9                                                            ·9· · · · · · · · · · · ·EXAMINATION
10                                                            10
11                                                            11· · · · · · ·MR. FIALKOW:· Sorry.· Just a quick -- I
12                                                            12· ·need to talk to the witness for one second.
13                                                            13· · · · · · ·(Recess.)
14                                                            14· ·BY MR. FREIBERG:
15                                                            15· · · · Q· · Good afternoon, sir.
16                                                            16· · · · A· · Good afternoon.
17                                                            17· · · · Q· · My name is Peter Freiberg.· I represent
18                                                            18· ·Tashanna Golden in this case.· First of all, let me
19                                                            19· ·thank you for your time here this afternoon.· I am
20                                                            20· ·going to try to get through this as quickly as
21                                                            21· ·possible.
22                                                            22· · · · · · ·Have you ever had a deposition taken
23                                                            23· ·before?
24                                                            24· · · · A· · No.

                                                     Page 6                                                             Page 8
·1· · · · · · ·THE VIDEOGRAPHER: This is day number one       ·1· · · · Q· · Just a couple of ground rules.· If I ask
·2· ·to the videotaped deposition of John Hupalo in the       ·2· ·you a question that you don't understand, please ask
·3· ·matter of Tashanna B. Golden f/k/a Tashanna B.           ·3· ·me to rephrase it.· None of the lawyers involved
·4· ·Pearson versus Nat'l Collegiate Student Loan Trust       ·4· ·here want you to answer a question that you may not
·5· ·2005-3, et al.· The case file number in this matter      ·5· ·understand.
·6· ·is 16-40809-css.                                         ·6· · · · · · ·If at any point in time you need to take a
·7· · · · · · ·This deposition is being held at One           ·7· ·break, please just let us know.· We are happy to
·8· ·Lincoln Street, Boston, Massachusetts on November        ·8· ·accommodate you.· The only caveat is there can't be
·9· ·19, 2019.                                                ·9· ·a pending question when you ask for a break.
10· · · · · · ·The time on the video monitor is 1:06 p.m.     10· · · · · · ·And then finally if you and I could try to
11· ·My name is Dean Carson.· I am the videographer today     11· ·avoid talking over each other it will help Ms.
12· ·along with the court reporter Laura Naylor.              12· ·Naylor's job getting everything down accurately.· So
13· · · · · · ·Counsel, will you please introduce             13· ·just please wait until I finish the question before
14· ·yourselves and state your appearance and affiliation     14· ·you provide an answer.· Okay?
15· ·for the record.                                          15· · · · A· · Okay.
16· · · · · · ·MR. FREIBERG:· My name is Peter Freiberg       16· · · · Q· · First of all, are you represented by
17· ·on behalf of the plaintiff Tashanna Golden.              17· ·counsel here today?
18· · · · · · ·MR. FIALKOW:· I represent -- my name is        18· · · · A· · I am.
19· ·David Fialkow.· I represent the witness, John            19· · · · Q· · And that is Mr. Fialkow?
20· ·Hupala.                                                  20· · · · A· · That is correct.
21· · · · · · ·MR. FONTINELLI:· And this is Chris             21· · · · Q· · Have you spoken with any other attorneys
22· ·Fontinelli on the phone with Locke Lord representing     22· ·regarding your deposition?
23· ·Nat's Collegiate Student Loan Trust 2006-4 and           23· · · · A· · Informally.
24· ·2016-A.                                                  24· · · · Q· · Who?


                                                                                            800.211.DEPO (3376)
                                                                                            EsquireSolutions.com                 YVer1f
Case 1-17-01005-ess                Doc 245-12           Filed 07/13/20               Entered 07/13/20 14:41:38


JOHN HUPALO VOLUME I                                                                                 November 19, 2019
GOLDEN vs NAT L COLLEGIATE STUDENT LOAN                                                                           9–12
                                                        Page 9                                                               Page 11
·1· · · · A· · A friend, Ken Roberts, in New York who            ·1· · · · A· · We have software programs to help parents
·2· ·instructed me to contact First Marblehead for               ·2· ·plan and pay for college.
·3· ·representation.                                             ·3· · · · Q· · Thank you for that.· When you were working
·4· · · · Q· · You said he is a friend of yours?                 ·4· ·for First Marblehood -- first of all, were you
·5· · · · A· · That's right.                                     ·5· ·employed by the First Marblehood Corporation?
·6· · · · Q· · Okay.· Other than Mr. Fialkow, though,            ·6· · · · A· · That is correct.
·7· ·have you spoken to anyone about the substance of --         ·7· · · · Q· · We will refer to that throughout the
·8· · · · A· · No.                                               ·8· ·deposition as FMC.
·9· · · · Q· · You will have the ability to read and sign        ·9· · · · A· · Okay.
10· ·your transcript which means that you are allowed to         10· · · · Q· · You are familiar with what is referred to
11· ·review it to make sure everything is recorded               11· ·as FMER, First Marblehead Education Resources?
12· ·correctly.· Do you want to reserve that right?              12· · · · A· · Yes.
13· · · · A· · Yes.                                              13· · · · Q· · That was a subsidiary of FMC?
14· · · · Q· · Then what I will do is get the original of        14· · · · A· · Correct.
15· ·the transcript to Mr. Fialkow who will get with you         15· · · · Q· · Did you at any point in time work for
16· ·in terms of what you need to do in terms of reading         16· ·First Marblehead Education Resources, Inc.?
17· ·and signing.                                                17· · · · A· · I don't believe· so.
18· · · · · · ·MR. FIALKOW:· We will waive notary?               18· · · · Q· · What were your title or titles while you
19· · · · · · ·MR. FREIBERG:· That's fine.                       19· ·were working for FMC?
20· · · · · · ·MR. FIALKOW:· All right.                          20· · · · A· · When I started the company I was the group
21· · · · · · ·MR. FREIBERG:· That's fine.                       21· ·head of capital markets.· Then there were a series
22· ·BY MR. FREIBERG:                                            22· ·of promotions that ended with me having the title
23· · · · Q· · Mr. Hupalo, just tell me generally what           23· ·of, I believe, a senior executive vice president
24· ·you did to prepare for your deposition, if anything?        24· ·chief financial officer.

                                                    Page 10                                                                  Page 12
·1· · · · A· · Nothing.                                          ·1· · · · Q· · Was that the title you had when you left
·2· · · · Q· · Okay.                                             ·2· ·the company in 2008?
·3· · · · A· · Other than speak to Mr. Fialkow.                  ·3· · · · A· · That's correct.
·4· · · · Q· · And did you look at any documents?                ·4· · · · Q· · What month in 2008 did you leave First
·5· · · · A· · I did not.                                        ·5· ·Marblehead?
·6· · · · Q· · Could you tell us what your educational           ·6· · · · A· · My recollection was in October of 2008.
·7· ·background is, please?                                      ·7· · · · Q· · And, generally, what did you do as the
·8· · · · A· · Yes.· I have a BA from Boston University          ·8· ·group head of capital markets for First Marblehead?
·9· ·in political science and an MBA from New York               ·9· · · · A· · So our job at Capital Markets Group was to
10· ·University in finance.                                      10· ·take the assets which were generated by the First
11· · · · Q· · And when did you get the MBA in finance?          11· ·Marblehead business model, package them, and sell
12· · · · A· · The MBA in finance was in 1987.                   12· ·them to investors.· So our job was to make sure that
13· · · · Q· · And after graduating from NYU could you           13· ·they were in a homogenous pool and have the prepared
14· ·just give us sort of a quick rundown of what your           14· ·for sale.
15· ·work history was?                                           15· · · · Q· · And the assets -- we will get into this in
16· · · · A· · Yes.· I worked in the investment banking          16· ·more detail -- but the assets you are referring to
17· ·field from 1987 to 2003.· 2003 to 2008 at First             17· ·are student loans?
18· ·Marblehood Corporation.· 2008 to I will say 2010-ish        18· · · · A· · Private credit student loans originated by
19· ·I was doing sort of different activities, my own            19· ·banks.· That's right.
20· ·consulting type of activities.· Then I went to work         20· · · · Q· · And when you say to package them was that
21· ·at Deutsche Bank for about 18 months or two years.          21· ·the process by which the private student loans were
22· ·And in 2012 started the company that I am with now,         22· ·assigned to the Delaware Statutory Trust?
23· ·which is Invite Education.                                  23· · · · A· · Without quibbling about assigned, yes.
24· · · · Q· · Quickly what does Invite Education do?            24· ·They were collected and packaged as a group and


                                                                                                  800.211.DEPO (3376)
                                                                                                  EsquireSolutions.com                 YVer1f
Case 1-17-01005-ess                Doc 245-12           Filed 07/13/20           Entered 07/13/20 14:41:38


JOHN HUPALO VOLUME I                                                                             November 19, 2019
GOLDEN vs NAT L COLLEGIATE STUDENT LOAN                                                                     13–16
                                                       Page 13                                                      Page 15
·1· ·sold in those trusts; that is correct?                      ·1· ·traded?
·2· · · · Q· · And the trusts were -- are known as the           ·2· · · · A· · Yes.
·3· ·Nat'l Collegiate Student Loan Trusts and then they          ·3· · · · Q· · During what period of time?
·4· ·have numbers representing the year and the --               ·4· · · · A· · The IPO, if I remember correctly, was
·5· · · · A· · I believe they were called the Nat'l              ·5· ·September 2003.· And I'm not sure when the stock
·6· ·Collegiate Student Loan Master Trust --                     ·6· ·stopped trading but it was trading at the time of my
·7· · · · Q· · Okay.                                             ·7· ·departure.
·8· · · · A· · ·-- if I am not mistaken.                         ·8· · · · Q· · What market?
·9· · · · Q· · And then you mentioned a second ago that          ·9· · · · A· · New York Stock Exchange.
10· ·part of your responsibilities were to sell what to          10· · · · Q· · And is it true that the filings that had
11· ·the investors?                                              11· ·to be made on behalf of the First Marblehead were
12· · · · A· · Securities.                                       12· ·required because they were publicly traded
13· · · · Q· · The asset backed securities?                      13· ·securities?
14· · · · A· · Correct.                                          14· · · · A· · The debt securities were publically traded
15· · · · Q· · Can you tell me, sir, what your duties            15· ·securities; that's right.
16· ·were with respect to filings that were made with the        16· · · · Q· · What I am talking about is the First
17· ·Securities and Exchange Commission first of all with        17· ·Marblehead stock.· That was publicly traded for a
18· ·respect to First Marblehead itself?                         18· ·period of time?
19· · · · A· · In my role as chief financial officer I           19· · · · A· · That's correct.
20· ·signed the financial statements.                            20· · · · Q· · And that triggered an obligation by First
21· · · · Q· · Did you actually have some role in                21· ·Marblehead to make filings with the Securities and
22· ·preparing those financial statements?                       22· ·Exchange Commission?
23· · · · A· · We had a chief accounting officer and his         23· · · · A· · Related to the stock; that is correct.
24· ·primary responsibility was for that.· But as the CFO        24· · · · Q· · To the stock of the First Marblehead

                                                     Page 14                                                          Page 16
·1· ·it was my ultimate responsibility to sign those.            ·1· ·Corporation?
·2· · · · Q· · And did that include signing the Form             ·2· · · · A· · That's correct.
·3· ·10K's at First Marblehead?                                  ·3· · · · Q· · The trust themselves --
·4· · · · A· · I believe so.· That's right.                      ·4· · · · A· · Yes.
·5· · · · Q· · Okay.· Did you have any responsibility for        ·5· · · · Q· · ·-- the asset backed securities, how were
·6· ·signing any SEC disclosure -- documents filed with          ·6· ·those traded or was there a market they were traded
·7· ·the SEC related to the trust themselves?                    ·7· ·on?
·8· · · · A· · For the publically issued trusts I would          ·8· · · · · · ·MR. FONTENELLI:· Object to the form.
·9· ·imagine that's correct, yes.· We did both private           ·9· ·BY MR. FREIBERG:
10· ·placements and publically issued securitizations.           10· · · · Q· · And what I am getting at is the publicly
11· · · · Q· · How many of the trusts, the                       11· ·traded asset backed securities.
12· ·securitizations, were private and how many were             12· · · · A· · The publicly traded asset backed
13· ·public?                                                     13· ·securities were traded among the broker dealers.
14· · · · A· · I don't recall.                                   14· · · · Q· · But because they were publicly traded the
15· · · · Q· · Were there more than -- let me --                 15· ·trust themselves had to make filings with the
16· · · · A· · Yes.· I just -- I don't recall.                   16· ·Securities and Exchange Commission?
17· · · · Q· · Was there any way to -- were most of them         17· · · · A· · Correct.
18· ·private and most of them public?                            18· · · · Q· · The securities that were sold, not the
19· · · · A· · I really just don't remember.                     19· ·stock of the First Marblehead Corporation but the
20· · · · Q· · But for those that were publically traded         20· ·securities, what were they?
21· ·you had some role in preparing filing the SEC               21· · · · A· · They were asset backed securities.
22· ·filings?                                                    22· · · · Q· · Were they considered notes?
23· · · · A· · That's correct.                                   23· · · · A· · It's debt instruments.· That's right.
24· · · · Q· · Was the stock of First Marblehead publicly        24· · · · Q· · Whereby the trusts themselves were


                                                                                             800.211.DEPO (3376)
                                                                                             EsquireSolutions.com               YVer1f
Case 1-17-01005-ess                   Doc 245-12      Filed 07/13/20            Entered 07/13/20 14:41:38


JOHN HUPALO VOLUME I                                                                            November 19, 2019
GOLDEN vs NAT L COLLEGIATE STUDENT LOAN                                                                    17–20
                                                     Page 17                                                         Page 19
·1· ·obligated, so to speak, to pay to the investors in        ·1· · · · A· · Well, in this context what is the
·2· ·the debt securities?                                      ·2· ·definition of an insurance company?
·3· · · · A· · That's right.                                   ·3· · · · Q· · Let me ask you.· What was TERI.· What was
·4· · · · Q· · And what the investors -- excuse me.· What      ·4· ·your understanding of what TERI was?
·5· ·the trust paid was money that was collected from          ·5· · · · A· · TERI was a not for profit guarantor of the
·6· ·principle and interest for the student loans              ·6· ·principle and interest under the underlying loans.
·7· ·themselves?                                               ·7· · · · Q· · TERI did not issue insurance policies that
·8· · · · A· · That's correct.                                 ·8· ·insured the underlying loans?
·9· · · · Q· · And did you have any role in preparing or       ·9· · · · A· · I am trying to remember what the mechanism
10· ·filing any prospectuses for the debt securities           10· ·was by which they bestowed the guarantee on the
11· ·issued by the trust?                                      11· ·loan.· I don't recall if it was called an insurance
12· · · · A· · Yes.                                            12· ·policy or anything else.
13· · · · Q· · What is a prospectus?                           13· · · · Q· · Did TERI guarantee any federal loans?
14· · · · A· · A prospectus is an outline of the               14· · · · A· · No.
15· ·transaction, the underlying collateral, the risks of      15· · · · Q· · Did TERI ever own any of the loans itself?
16· ·the transaction and related attached documents            16· · · · A· · I don't believe so.
17· ·having to do with the legal entity, the trust             17· · · · Q· · Did TERI ever underwrite any of the loans,
18· ·itself.                                                   18· ·the student loans?
19· · · · Q· · Thank you.· When you worked for the First       19· · · · A· · When you say underwrite?
20· ·Marblehead Corporation, where was the office?             20· · · · Q· · Did TERI ever provide any of the money for
21· · · · A· · There were all -- when I worked for First       21· ·the loans themselves?
22· ·Marblehood I was in three different locations.· One       22· · · · A· · TERI did not fund loans, as far as I know.
23· ·in Marblehead.· One here in Boston.· And eventually       23· · · · Q· · Did TERI ever service any of the loans?
24· ·the Pru, which was the primary location.                  24· · · · A· · When in collection servicing, no.· They

                                                   Page 18                                                         Page 20
·1· · · · Q· · I'm sorry.· It was called what?            ·1· ·have done some default servicing.· I don't recall.
·2· · · · A· · The Prudential Tower.                      ·2· · · · Q· · Okay.
·3· · · · Q· · The Prudential Tower.· Okay.               ·3· · · · A· · That's post-default.
·4· · · · A· · Yes.· The Pru.                             ·4· · · · Q· · Did TERI ever advance the money to the
·5· · · · Q· · Thank you.· At any period of time did TERI ·5· ·student borrowers?
·6· ·work in the same office as First Marblehead or same  ·6· · · · A· · Not that I am aware of.
·7· ·office space?                                        ·7· · · · Q· · Each loan that TERI guaranteed that ended
·8· · · · · · ·MR. FIALKOW:· Objection.· I think -- just  ·8· ·up in one or more of the trusts was funded by a
·9· ·so we make sure, TERI is?                            ·9· ·participating financial institution; correct?
10· · · · · · ·MR. FREIBERG:· Good point, Dave.           10· · · · A· · Correct.
11· ·BY MR. FREIBERG:                                     11· · · · Q· · And each loan -- each of those private
12· · · · Q· · When I refer to something called TERI      12· ·financial institutions -- excuse me.· Each of those
13· ·throughout this deposition, I am going to be         13· ·financial institutions was a private bank; is that
14· ·referring to the Education Resources, Inc.           14· ·correct?· What I'm --
15· · · · A· · Okay.                                      15· · · · A· · In most cases.
16· · · · Q· · Are you familiar with that?                16· · · · Q· · Okay.
17· · · · A· · I am.                                      17· · · · A· · There may have been some other funders
18· · · · Q· · At any point in time, did Terry share      18· ·that I -- but in the general business model it was a
19· ·office space with First Marblehood?                  19· ·financial institution.
20· · · · A· · Not that I am aware of.                    20· · · · Q· · A private bank, essentially?
21· · · · Q· · You mentioned a second ago that you were   21· · · · A· · Yes.
22· ·familiar with TERI.· TERI is not an insurance        22· · · · Q· · Okay.
23· ·company; correct?· Excuse me.· Was not an insurance 23· · · · A· · I'm sorry.· Private meaning they may have
24· ·company?                                             24· ·been publicly traded but not another 501C3 or


                                                                                            800.211.DEPO (3376)
                                                                                            EsquireSolutions.com               YVer1f
Case 1-17-01005-ess                      Doc 245-12          Filed 07/13/20                 Entered 07/13/20 14:41:38


JOHN HUPALO VOLUME I                                                                                      November 19, 2019
GOLDEN vs NAT L COLLEGIATE STUDENT LOAN                                                                              21–24
                                                           Page 21                                                        Page 23
·1· ·something of that nature.                                       ·1· · · · A· · Mid 90's, early 90's, perhaps '93-ish.
·2· · · · Q· · Correct.· That is what I am getting at.               ·2· · · · Q· · And how did you come to work for the First
·3· ·None of the loans that TERI guaranteed were                     ·3· ·Marblehead company -- Corporation?
·4· ·sponsored or underwritten by any state or federal               ·4· · · · A· · In 2003 I made a presentation to the board
·5· ·government?                                                     ·5· ·of directors.· And the CEO invited me to join the
·6· · · · A· · I don't believe so.· Certainly not the                ·6· ·firm.· I had been their investment banker at that
·7· ·federal government.                                             ·7· ·time or one of their investment bankers at that
·8· · · · Q· · Fair to state, though, that all of the                ·8· ·time.
·9· ·loans that went to the trust were originated by                 ·9· · · · Q· · And in your role as an investment banker
10· ·private banks?                                                  10· ·prior to joining First Marblehead had you had any
11· · · · A· · When you say originated, you mean funded              11· ·experience with marketing securities, asset backed
12· ·or do you mean processed?                                       12· ·securities that First Marblehead had structured?
13· · · · Q· · Yes.· Funded.                                         13· · · · A· · Yes.
14· · · · A· · Yes.· Funded.                                         14· · · · Q· · Similar to the Nat'l Collegiate Student
15· · · · Q· · Do you know if TERI was entitled to any               15· ·Loan Trust it held private loans?
16· ·type of financial assistance from the United States             16· · · · A· · That's correct.
17· ·Department of Education?                                        17· · · · Q· · And as an investment banker was your role
18· · · · A· · I don't believe they were.                            18· ·to sell the debt instruments themselves to
19· · · · Q· · And do you know if TERI was entitled to               19· ·investors?
20· ·any type of re-insurance from the United States                 20· · · · A· · It was my role to coordinate the sale with
21· ·Department of Education?                                        21· ·the sales and trading teams and others within the
22· · · · A· · I don't believe they were.                            22· ·firm.· But I didn't specifically sell bonds to
23· · · · Q· · Did TERI own any loan related assets?                 23· ·investors.
24· · · · A· · Not that I am aware of other than                     24· · · · Q· · Is it fair to state that the First

                                                           Page 22                                                    Page 24
·1· ·defaulted student loans.                                        ·1· ·Marblehead Corporation provides outsourcing services
·2· · · · Q· · After it paid the guarantee?                          ·2· ·for private education lending?
·3· · · · A· · Right.                                                ·3· · · · A· · That's what we did.
·4· · · · Q· · Who was -- who paid the guaranty fees for             ·4· · · · Q· · And by the way, sir, what I am going to be
·5· ·TERI's guaranty, do you know?                                   ·5· ·asking you a lot about today occurred, you know,
·6· · · · A· · I'm trying to remember if the borrower                ·6· ·between 2001 and 2008, 2010.· So to the extent you
·7· ·paid the fee.· I don't recall specifically.                     ·7· ·and I can kind of limit our conversation today to
·8· · · · Q· · Okay.· Do you know if the guaranty fee was            ·8· ·that time period?· If I'm going to ask you things
·9· ·considered part of the origination fee for the loans            ·9· ·that happened or that you know about happened after
10· ·from the banks?                                                 10· ·2008 or 2010, I'll let you know.
11· · · · A· · I don't recall specifically.                          11· · · · A· · Fair.
12· · · · Q· · Okay.· We'll talk about this in a little              12· · · · Q· · Is the First Marblehood Corporation
13· ·bit more detail later but was the guaranty fee                  13· ·essentially an education finance company?
14· ·income that TERI owned kept in a segregated account? 14· · · · A· · Yes.
15· · · · A· · I would imagine so for each trust.· It is             15· · · · Q· · And the First Marblehood Corporation while
16· ·part of the perfected security interest in the                  16· ·you were there offered program design and marketing
17· ·asset.                                                          17· ·for its clients; correct?
18· · · · Q· · Such that the trust had a security                    18· · · · A· · Correct.
19· ·interest in the guaranty fees that TERI had put into            19· · · · Q· · And its clients were private banks?
20· ·escrow and set aside, something like that?                      20· · · · A· · As we said before, right.
21· · · · A· · I don't recall if they escrowed by                    21· · · · Q· · And part of the services that First
22· ·transaction or if it was a general escrow.                      22· ·Marblehead offered were borrower inquiring an
23· · · · Q· · The First Marblehood Corporation.· Do you             23· ·application -- loan application processing; correct?
24· ·know when it was organized?· Formed as a business?              24· · · · A· · That's correct.


                                                                                                      800.211.DEPO (3376)
                                                                                                      EsquireSolutions.com          YVer1f
Case 1-17-01005-ess               Doc 245-12            Filed 07/13/20         Entered 07/13/20 14:41:38


JOHN HUPALO VOLUME I                                                                           November 19, 2019
GOLDEN vs NAT L COLLEGIATE STUDENT LOAN                                                                   25–28
                                                     Page 25                                                        Page 27
·1· · · · Q· · First Marblehead also organized the -- not    ·1· ·it, to the trusts themselves?
·2· ·organized but had a role in the loan origination        ·2· · · · A· · Correct.
·3· ·itself?                                                 ·3· · · · Q· · And is it correct that the securitization
·4· · · · A· · That's correct.                               ·4· ·that enabled the lenders to sell these liquid assets
·5· · · · Q· · And the disbursement of the loan proceeds  ·5· ·that essentially were potentially illiquid?
·6· ·to the borrowers?                                    ·6· · · · A· · Yes.
·7· · · · A· · That's correct.                            ·7· · · · Q· · And is it correct that the securitization
·8· · · · Q· · And then First Marblehead also had a role  ·8· ·enabled the reallocation of the risk of default?
·9· ·in the securitization of the loans?                  ·9· · · · A· · Could you rephrase that?
10· · · · A· · That's correct.                            10· · · · Q· · Sure.· Did the securitization allow for
11· · · · Q· · Before we get ahead of ourselves could     11· ·the transfer of risk of default by the student
12· ·you just generally define what it means to           12· ·borrowers?
13· ·securitize something like a student loan?            13· · · · A· · I don't believe so.
14· · · · A· · Certainly.· The securitization of the      14· · · · Q· · After the loans were transferred to the
15· ·student loan asset consisted of, as we said before,  15· ·trusts who had the risk of default of the borrowers?
16· ·forming a pool of assets, having those assets rated  16· · · · A· · The reason I gave the last answer is the
17· ·by a rating agency, having the trust formed by a     17· ·same as this one.· I think the risks were mandatory.
18· ·trustee who is acting on behalf of the bond holders. 18· · · · Q· · Because of the guaranty?
19· · · · · · ·Then going through the process of modeling 19· · · · A· · Correct.
20· ·cash flows to show what the investor returns would   20· · · · Q· · And then, finally, one of the services
21· ·be based on the principle and interest income that   21· ·that First Marblehead engaged in was actually the
22· ·was assumed to come from that revenue stream from 22· ·servicing of the loans after they had been
23· ·those underlying assets.· And basically that's the   23· ·disbursed?
24· ·sale of a securitized asset.                         24· · · · A· · Correct.

                                                     Page 26                                                   Page 28
·1· · · · Q· · Are you familiar with the term make and       ·1· · · · Q· · And servicing included borrower inquiries
·2· ·sell loans?                                             ·2· ·about loan terms?
·3· · · · A· · Yes.                                       ·3· · · · A· · That's correct.
·4· · · · Q· · What percentage of the loans that were     ·4· · · · Q· · Collections?
·5· ·originated by First Marblehead were make and sell    ·5· · · · A· · Yes.
·6· ·loans?                                               ·6· · · · Q· · Receipt of monies.· Things like that?
·7· · · · A· · When we say make and sell, so we are       ·7· · · · A· · Correct.
·8· ·clear, what I think of that term to mean is that the ·8· · · · Q· · Did First Marblehead offer a fully
·9· ·banks would make the loan.· They would fund it on    ·9· ·integrated suite of outsourcing materials in
10· ·their balance sheet.· And then they would sell it to 10· ·connection with its private student loan programs?
11· ·First Marblehead at the time of the securitization.  11· · · · A· · Can you say the last part?· Fully
12· · · · Q· · Correct.· That is what -- I should have    12· ·integrated --
13· ·asked you what you understood to be a make and sell 13· · · · Q· · A fully integrated suite of outsourcing
14· ·loan.                                                14· ·services in connection with its private student --
15· · · · A· · That is what I understand.                 15· · · · A· · Yes.
16· · · · Q· · So what percentage of the loans that were  16· · · · Q· · And did First Marblehood offer your
17· ·originated by First Marblehead were make and sell    17· ·clients -- strike that question.
18· ·loans?                                               18· · · · · · ·The clients of First Marblehead were who?
19· · · · A· · Nearly a hundred percent if not a hundred  19· · · · A· · The banks that we talked about before.
20· ·percent.                                             20· · · · Q· · Did First Marblehead offer the banks the
21· · · · Q· · Such that near or if not a hundred percent 21· ·opportunity to outsource all of the key components
22· ·of the loans that were originated by First           22· ·of their loan programs?
23· ·Marblehead were originated with the intent to then   23· · · · A· · Yes.
24· ·sell those, assign them, however you want to phrase  24· · · · Q· · And after 2001 First Marbelhood contracted


                                                                                           800.211.DEPO (3376)
                                                                                           EsquireSolutions.com               YVer1f
Case 1-17-01005-ess                Doc 245-12            Filed 07/13/20            Entered 07/13/20 14:41:38


JOHN HUPALO VOLUME I                                                                                November 19, 2019
GOLDEN vs NAT L COLLEGIATE STUDENT LOAN                                                                        29–32
                                                        Page 29                                                           Page 31
·1· ·with TERI to perform many of the services for its            ·1· ·platform.
·2· ·bank clients; is that correct?                               ·2· · · · · · ·They would fund the loans and hold them on
·3· · · · A· · I believe so, yes.· Can you repeat that,           ·3· ·the balance sheet.· At a time when there was an
·4· ·sir?                                                         ·4· ·aggregated amount of lines and there was a timing
·5· · · · Q· · Sure.· After 2001 there was an asset               ·5· ·opportunity in the market First Marblehead would
·6· ·purchase agreement between TERI and First                    ·6· ·send a notice to the banks that there would be a
·7· ·Marblehead.· Are you familiar with that?                     ·7· ·securitization.
·8· · · · A· · I am not recalling it in detail.                   ·8· · · · · · ·Give the date of the securitization.· Then
·9· · · · Q· · Did -- when you were with First                    ·9· ·have a determination of what amount of loans were
10· ·Marblehood, who performed the services that we just          10· ·available from each one of the banks for purchase in
11· ·described for the private banks?                             11· ·that period.
12· · · · · · ·MR. FIALKOW:· Objection.· You can answer.          12· · · · · · ·And we would get all the data on those
13· · · · · · ·THE WITNESS:· I'm sorry?                           13· ·loans and then have the investment bankers go
14· · · · · · ·MR. FIALKOW:· You can answer.                      14· ·through the process of working with the rating
15· · · · · · ·THE WITNESS:· We are talking about                 15· ·agencies.
16· ·post-origination?                                            16· · · · · · ·And then the rest of the process I
17· ·BY MR. FREIBERG:                                             17· ·described earlier.
18· · · · Q· · Yes.                                               18· · · · Q· · Okay.· And these were all private student
19· · · · A· · Third party servicer.                              19· ·loans?
20· · · · Q· · Okay.· FEA?                                        20· · · · A· · Correct.
21· · · · A· · FEA.· Correct.                                     21· · · · Q· · No Stafford loans --
22· · · · Q· · Other than third party servicing -- strike         22· · · · A· · No.
23· ·the question.· First Marblehead it's a for profit            23· · · · Q· · -- included within the trust.· No federal
24· ·corporation?                                                 24· ·loans?

                                                       Page 30                                                            Page 32
·1· · · · A· · Correct.                                           ·1· · · · A· · No.
·2· · · · Q· · And has it been a for profit corporation           ·2· · · · Q· · And is it correct that all of the loans
·3· ·at all times, as far as you know?                            ·3· ·that were securitized into the trust were guaranteed
·4· · · · A· · Yes.                                               ·4· ·by TERI?
·5· · · · Q· · Okay.· And incidentially, were there any           ·5· · · · A· · Yes.
·6· ·restrictions on the transferability of the stock of          ·6· · · · Q· · A hundred percent?
·7· ·First Marblehead?                                            ·7· · · · A· · As far as I remember, yes.
·8· · · · A· · Transferability?                                   ·8· · · · Q· · And to backtrack a little bit, the trust
·9· · · · Q· · The trading of First Marblehead?                   ·9· ·would then issue the debt securities --
10· · · · A· · For officers?                                      10· · · · A· · That's correct.
11· · · · Q· · Other than for officers?                           11· · · · Q· · ·-- for sale to the investors?
12· · · · A· · In the window periods, no, as a publically         12· · · · A· · That's correct.
13· ·traded company.                                              13· · · · Q· · Typically what -- who -- what type of
14· · · · Q· · Okay.                                              14· ·investors were buying the debt securities?
15· · · · A· · Prior to that it was private and there             15· · · · A· · The market evolved over the period of time
16· ·were obviously other restrictions.                           16· ·that you are talking about.· It became a global
17· · · · Q· · First Marblehood was the entity that               17· ·market.· We had investors purchasing bonds and
18· ·actually created the securitization trust?                   18· ·securities from the trust from Asia, from Europe,
19· · · · A· · Correct.                                           19· ·from the United States.
20· · · · Q· · Can you tell me how that worked?                   20· · · · Q· · Institutional investors mostly?
21· · · · A· · Yes.· As we discussed before with the              21· · · · A· · Institutional investors almost
22· ·asset securitization purchase -- say the methodology         22· ·exclusively.
23· ·or the program was that the banks would originate            23· · · · Q· · Okay.· During the period of time that you
24· ·the loans through the First Marblehood origination           24· ·were employed by the First Marblehead Corporation


                                                                                                800.211.DEPO (3376)
                                                                                                EsquireSolutions.com                YVer1f
Case 1-17-01005-ess                 Doc 245-12             Filed 07/13/20         Entered 07/13/20 14:41:38


JOHN HUPALO VOLUME I                                                                             November 19, 2019
GOLDEN vs NAT L COLLEGIATE STUDENT LOAN                                                                     33–36
                                                         Page 33                                               Page 35
·1· ·did the company's profitability depend largely on    ·1· ·originated and then securitized?
·2· ·the securitization process?                          ·2· · · · A· · You said the primary driver of the --
·3· · · · A· · Yes.                                       ·3· · · · Q· · Profitiability?
·4· · · · Q· · And did the profitability of the First     ·4· · · · A· · It was one of the drivers of
·5· ·Marblehood Corporation when you were employed there ·5· ·profitability.
·6· ·depend upon its ability to earn structural advisory  ·6· · · · Q· · Loan volume was important though; correct?
·7· ·fees?                                                ·7· · · · A· · It was.
·8· · · · A· · Yes.                                       ·8· · · · Q· · And how did the TERI guaranty figure into
·9· · · · Q· · And did the profitability of the First     ·9· ·loan volume?
10· ·Marblehead Corporation when you were employed there 10· · · · A· · Well, the TERI guaranty was part of the
11· ·depend upon its earning -- that may not be the right 11· ·analysis that the investor would do and the rating
12· ·word -- the residuals that First Marblehead held in  12· ·agencies would do.· So given the fact that we
13· ·the trust?                                           13· ·securitized almost 100 percent TERI guaranty loans
14· · · · A· · Yes.                                       14· ·I don't really have a measure to know what impact it
15· · · · Q· · The structural advisory fees am I correct  15· ·had on the volume.· We just securitized TERI
16· ·that when a securitization was completed that the    16· ·guaranty loans.
17· ·First Marblehead got what's known as upfront         17· · · · Q· · Was the TERI guaranty important -- an
18· ·structural advisory fee?                             18· ·important factor to driving loan volume?
19· · · · A· · That's correct.                            19· · · · A· · It was a factor.· I think all the
20· · · · Q· · And after receiving the upfront structural 20· ·investors had different factors that they looked at
21· ·advisory fee were there additional advisory fees     21· ·but the guaranty was one of those measures.
22· ·that First Marblehead earned?                        22· · · · Q· · Was student loan asset backed
23· · · · A· · You referenced the residuals before.· So   23· ·securitizations historically First Marblehead's
24· ·there was a calculation of what the present value of 24· ·sole source of financing?

                                                         Page 34                                                   Page 36
·1· ·the residual would be given certain assumptions.              ·1· · · · A· · Yes.
·2· · · · Q· · Before we get too far ahead of ourselves,           ·2· · · · Q· · And was TERI an integral part of that?
·3· ·what is the residual?                                         ·3· · · · A· · You are saying the TERI guaranty?
·4· · · · A· · So the residual is the cashflow that                ·4· · · · Q· · Yes.
·5· ·remains after the bonds have been paid in full, all           ·5· · · · A· · It was part of the loan package that the
·6· ·P&I is paid, principal and interest.                          ·6· ·-- it was inherent in the assets they were
·7· · · · Q· · Essentially the residual that is left in            ·7· ·securitizing, so it was important from that
·8· ·the trust itself after all of the purchases of the            ·8· ·perspective, yes.
·9· ·debt securities have been paid --                             ·9· · · · Q· · The guaranty's of the loans reduced the
10· · · · A· · That's correct.                                     10· ·risk to the purchasers of the debt securities?
11· · · · Q· · Repaid.                                             11· · · · A· · Correct.
12· · · · A· · The debt securities and all the fees for            12· · · · Q· · And the TERI guaranty made the debt to the
13· ·the trustee and the servicer and all the rest.· It's          13· ·securitized asset back trust more valuable?· The
14· ·basically the remaining cash flow.                            14· ·debt security?
15· · · · Q· · And at all times when you were employed             15· · · · A· · Yes.
16· ·with the First Marblehead did it, in fact, have a             16· · · · Q· · Was one of the -- well, strike the
17· ·residual interest in the trusts?                              17· ·question.
18· · · · A· · Yes.                                                18· · · · · · ·There were private label things known as
19· · · · Q· · Am I correct that TERI also had a residual          19· ·private label programs at First Marblehead?
20· ·interest in the trusts?                                       20· · · · A· · That's right.
21· · · · A· · I believe so.                                       21· · · · Q· · What is a private label program?
22· · · · Q· · While you were employed with the First              22· · · · A· · The private label program as I remember
23· ·Marblehead was the primary driver of profitability            23· ·was the ability to use one of the financial
24· ·of the company the volume of loans that could be              24· ·institutions brand name as the representative.


                                                                                              800.211.DEPO (3376)
                                                                                              EsquireSolutions.com             YVer1f
Case 1-17-01005-ess               Doc 245-12           Filed 07/13/20                 Entered 07/13/20 14:41:38


JOHN HUPALO VOLUME I                                                                                   November 19, 2019
GOLDEN vs NAT L COLLEGIATE STUDENT LOAN                                                                           37–40
                                                      Page 37                                                            Page 39
·1· · · · · · ·(Lynn Swanson appearing telephonically           ·1· ·earlier.
·2· ·joined the deposition.)                                    ·2· · · · Q· · When you say signed off, did TERI have to
·3· · · · · · ·MR. FREIBERG:· It's Lynn Swanson.· She is        ·3· ·approve?
·4· ·also with my office down in New Orleans.                   ·4· · · · A· · And why was that?
·5· · · · · · ·THE WITNESS:· Great.· Thanks.· Can you           ·5· · · · Q· · They are a separate entity.
·6· ·repeat the question then?                                  ·6· · · · Q· · Okay.· And we will get into this in more
·7· ·BY MR. FREIBERG:                                           ·7· ·detail.· But at points in the disclosures that First
·8· · · · Q· · We were talking about the private label          ·8· ·Marblehead made for the trusts TERI's financials
·9· ·programs.                                                  ·9· ·were included?
10· · · · A· · All right.· Okay.                                10· · · · A· · Correct.
11· · · · Q· · What was the private label program?              11· · · · Q· · Why was that?
12· · · · A· · So, to use an example, Bank of America had       12· · · · A· · Because of the guaranty.· So the
13· ·a Bank of America private credit student loan that         13· ·disclosure counsel or others, I am not sure whom,
14· ·was private labeled, some call it white labeled            14· ·determined that was a material piece of information
15· ·meaning that they took the asset that was generated        15· ·an investor should have, the financial health of
16· ·according to the credit criteria and they offered          16· ·TERI.
17· ·that to their clients.                                     17· · · · Q· · The financial health of TERI was material
18· · · · · · ·Other banks perhaps Chase or P&C or any of       18· ·to the institutional investors that were purchasing
19· ·the other clients would use an identical underlying        19· ·the debt securities against the trust?
20· ·credit criteria and label those -- private label           20· · · · A· · Because of the guaranty.
21· ·those loans to their clients as well, customers.           21· · · · Q· · Because of the guaranty.· Okay.· Did at
22· · · · Q· · One of the components of the private label       22· ·any point in time while you were employed by First
23· ·programs was the opportunity for your bank, private        23· ·Marblehead did TERI assume the responsibility for
24· ·bank lending clients to mitigate their risk through        24· ·compliance?

                                                     Page 38                                                             Page 40
·1· ·the TERI guaranty?                                         ·1· · · · A· · No.
·2· · · · A· · Correct.                                         ·2· · · · Q· · And at any point in time did TERI delegate
·3· · · · Q· · And one of the key components of First           ·3· ·the responsibility for compliance to First
·4· ·Marblehead's ability to market the asset backed            ·4· ·Marblehead?
·5· ·securities was the TERI guaranty; correct?                 ·5· · · · A· · Their own internal compliance?
·6· · · · A· · That's correct.                                  ·6· · · · Q· · Yes.
·7· · · · Q· · And that's because the TERI guaranty             ·7· · · · A· · I don't believe so.
·8· ·mitigated the risk to the purchasers of the debt           ·8· · · · Q· · When the loan funds were disbursed did
·9· ·securities?                                                ·9· ·First Marblehead disburse those funds on behalf of
10· · · · A· · Correct.                                         10· ·TERI?
11· · · · Q· · Did First Marblehead collaborate with TERI       11· · · · A· · On behalf of TERI?
12· ·to comply with the laws and regulations regarding          12· · · · Q· · Or the banks?
13· ·disclosures for the asset backed securities?               13· · · · A· · The banks.
14· · · · A· · Did you say collaborate?                         14· · · · Q· · So the monies that were sent to the
15· · · · Q· · Was there any overlap, cooperation between       15· ·borrowers came from an account -- a First Marblehead
16· ·TERI and First Marblehead complying with the laws          16· ·account?
17· ·and regulations regarding -- let me rephrase the           17· · · · A· · No. I believe -- if I remember
18· ·question.                                                  18· ·specifically it came from -- at no time did First
19· · · · · · ·Did TERI have any role in the issuance of        19· ·Marblehead own a loan on its balance sheet.· So I
20· ·the reports that had to be filed with the SEC either       20· ·believe that there was a mechanism by which the
21· ·for First Marblehead or for the trusts themselves?         21· ·banks would have funded that loan.· But I was not in
22· · · · A· · My recollection on the reports and the           22· ·the operations.· But we did not balance sheet loans.
23· ·filings, no.· TERI signed off on the disclosure            23· · · · Q· · Okay.
24· ·documentation in the prospectus that you referenced        24· · · · A· · Not even for a second.


                                                                                                     800.211.DEPO (3376)
                                                                                                     EsquireSolutions.com          YVer1f
Case 1-17-01005-ess             Doc 245-12         Filed 07/13/20          Entered 07/13/20 14:41:38


JOHN HUPALO VOLUME I                                                                      November 19, 2019
GOLDEN vs NAT L COLLEGIATE STUDENT LOAN                                                              41–44
                                                Page 41                                                     Page 43
·1· · · · Q· · First Marblehead?                            ·1· ·Marblehead series of transactions that funded those
·2· · · · A· · Correct.                                     ·2· ·private credit student loans.
·3· · · · Q· · And I was going to ask you later.· But       ·3· · · · Q· · Was the National Collegiate Trust a
·4· ·First Marblehead never actually owned the loans        ·4· ·subsidiary of First Marblehead?
·5· ·themselves?                                            ·5· · · · · · ·MR. FONTINELLI: Objection.
·6· · · · A· · That's correct.                              ·6· · · · · · ·THE WITNESS:· I don't remember what --
·7· · · · Q· · The loans were owned by the banks --         ·7· ·what the legal status was.· I don't believe it was a
·8· · · · A· · The banks.                                   ·8· ·subsidiary, though.· It was a -- no, in fact it was
·9· · · · Q· · ·-- upon original -- excuse me -- upon       ·9· ·an off balance sheet.· It was not a subsidiary, I
10· ·disbursement?                                          10· ·think, as we know it.
11· · · · A· · Correct.                                     11· ·BY MR. FREIBERG:
12· · · · Q· · And who was the next owner?                  12· · · · Q· · Okay.· Was it an affiliate?
13· · · · A· · The trust.                                   13· · · · · · ·MR. FONTINELLI: Objection.
14· · · · Q· · The trust.· Are you familiar with an         14· · · · · · ·THE WITNESS:· No.· It was a -- it was just
15· ·entity known as National Collegiate Funding, LLC?      15· ·an entity that received the loans.
16· · · · A· · I remember the name but I don't remember     16· ·BY MR. FREIBERG:
17· ·the function.                                          17· · · · Q· · Who actually organized -- strike that
18· · · · Q· · Okay.· I guess my question is the account    18· ·question.· The trusts themselves are statutory
19· ·through which the monies flowed from the banks to      19· ·trusts?
20· ·the borrowers, whose account was that?                 20· · · · A· · Correct.
21· · · · A· · I'm sorry.· So can you say that again?       21· · · · Q· · Organized in the State of Delaware?
22· · · · Q· · Sure.· Whose account was used to get the     22· · · · A· · Correct.
23· ·money from the banks to the borrowers, the student     23· · · · Q· · Who actually formed or organized the
24· ·borrowers?                                             24· ·statutory trusts?

                                                Page 42                                                     Page 44
·1· · · · A· · I don't remember the detail of how that      ·1· · · · A· · The -- and you made the point earlier
·2· ·was.                                                   ·2· ·about the time period of 2001 to 8 or 10 or whatever
·3· · · · Q· · Were the loan monies made available by the   ·3· ·it might be.· And I wanted to note at that point
·4· ·banks to TERI?                                         ·4· ·that's, you know, more than 15 years ago so.· I am
·5· · · · A· · I don't believe so.                          ·5· ·trying to remember the detail of what were fairly
·6· · · · Q· · Were the loan monies made available by the   ·6· ·intricate student loan transactions.· You
·7· ·banks to First Marblehead --                           ·7· ·understand?
·8· · · · A· · Yes.                                         ·8· · · · Q· · Understood.
·9· · · · Q· · ·-- for disbursement?                        ·9· · · · A· · Yes.
10· · · · A· · For disbursement, yes.                       10· · · · Q· · And I only want you to tell us what you
11· · · · Q· · Are you familiar with an entity known as     11· ·can know or what you remember.
12· ·the National Collegiate Trust?                         12· · · · A· · I know.· So could you again ask --
13· · · · A· · Yes.                                         13· · · · Q· · Sure.· Who actually organized or
14· · · · Q· · And what is the National Collegiate Trust?   14· ·incorporated, that's not exactly the right word, but
15· · · · A· · The National Collegiate Trust was the        15· ·organized the statutory trusts?
16· ·issuing entity for the private credit student loans.   16· · · · A· · The lawyers.
17· · · · Q· · Issuing entity for the debt securities?      17· · · · Q· · Whose lawyers?
18· · · · A· · Correct.                                     18· · · · A· · So there were trustees lawyers, the
19· · · · Q· · And is there more than one National          19· ·corporation had lawyers, the trust -- and when I
20· ·Collegiate Trust?                                      20· ·said the trustees lawyers the trust was represented
21· · · · A· · Well, I said earlier I thought it was the    21· ·so they were at the table as well.
22· ·National Collegiate Student Loan Master Trust but      22· · · · Q· · Was First Marblehood considered the
23· ·there may have been different trust entities.· But     23· ·sponsor of the trust?
24· ·National Collegiate Student Loan Trust was the first   24· · · · A· · I would say that.


                                                                                       800.211.DEPO (3376)
                                                                                       EsquireSolutions.com             YVer1f
Case 1-17-01005-ess             Doc 245-12         Filed 07/13/20            Entered 07/13/20 14:41:38


JOHN HUPALO VOLUME I                                                                         November 19, 2019
GOLDEN vs NAT L COLLEGIATE STUDENT LOAN                                                                 45–48
                                                Page 45                                                          Page 47
·1· · · · Q· · And was any entity associated with First     ·1· ·TERI's data have any role in the credit rating of
·2· ·Marblehead considered to be the depositor for the      ·2· ·First Marblehood itself?
·3· ·trust?                                                 ·3· · · · A· · No.
·4· · · · · · ·MR. FONTINELLI:· Objection to form.          ·4· · · · Q· · Did First Marblehead derive any benefit
·5· · · · · · ·THE WITNESS:· Depositor is a term of art.    ·5· ·from TERI's role in the securitization process?
·6· ·How do we mean it here?                                ·6· · · · A· · The benefit was the guaranty.
·7· ·BY MR. FREIBERG:                                       ·7· · · · Q· · And do the trusts themselves derive a
·8· · · · Q· · What entity actually deposited the student   ·8· ·benefit from TERI's role in the securitization
·9· ·loans into the trusts?                                 ·9· ·process?
10· · · · · · ·MR. FONTINELLI: Objection.                   10· · · · A· · Same.
11· · · · · · ·THE WITNESS:· Thank you.· The banks.         11· · · · Q· · The guaranty?
12· ·BY MR. FREIBERG:                                       12· · · · · · ·MR. FONTINELLI: Objection to form.
13· · · · Q· · Okay.· So the First Marblehead, as you       13· · · · · · ·THE WITNESS:· The guaranty.
14· ·said, never had ownership of the loans?                14· ·BY MR. FREIBERG:
15· · · · A· · That's correct.                              15· · · · Q· · Did TERI perform a private benefit to
16· · · · Q· · I think you said First Marblehead never      16· ·First Marblehead?
17· ·had the loans on its balance sheets?                   17· · · · A· · I don't -- by private benefit?
18· · · · A· · Correct.                                     18· · · · Q· · Let me rephrase the question.· Did First
19· · · · Q· · Ever?                                        19· ·Marblehead itself benefit in anyway from TERI?
20· · · · A· · Correct.· As far as I remember that's        20· · · · A· · From the guaranty that they provided for
21· ·right.                                                 21· ·the loans.
22· · · · Q· · What was TERI's role in the securitization   22· · · · Q· · We will get into this a little bit later,
23· ·process?                                               23· ·but at points in time TERI was actually paying First
24· · · · A· · TERI provided the guaranty and they          24· ·Marblehead to do loan servicing origination

                                                Page 46                                                            Page 48
·1· ·reviewed the documents, as I described before.         ·1· ·disbursement?
·2· · · · Q· · And TERI also had some role in originating   ·2· · · · · · ·MR. FIALKOW:· Objection.· You can answer.
·3· ·the loans themselves; correct?                         ·3· · · · · · ·THE WITNESS:· Again, I don't recall how
·4· · · · · · ·MR. FIALKOW:· Objection.                     ·4· ·the -- if -- it may have been that there was a
·5· · · · · · ·THE WITNESS:· Other than applying the        ·5· ·management contract of some kind, using that term
·6· ·guaranty?                                              ·6· ·loosely, as their -- as the servicer or the
·7· ·BY MR. FREIBERG:                                       ·7· ·origination servicer, if you will.· We had to
·8· · · · Q· · Yes.                                         ·8· ·underwrite the loans according to TERI underwriting
·9· · · · A· · I don't believe so.                          ·9· ·guidelines.· So I think you jogged my memory on that
10· · · · Q· · The origination loans was done by First      10· ·that there would be some arrangement for that to
11· ·Marblehead?                                            11· ·happen.
12· · · · A· · Correct.                                     12· ·BY MR. FREIBERG:
13· · · · Q· · What role did TERI's -- excuse me.· What     13· · · · Q· · Did TERI provide an advantage to the First
14· ·role did TERI's data have in the securitization        14· ·Marblehead Corporation in its securitization
15· ·process?                                               15· ·process?
16· · · · A· · TERI's data was used primarily by the        16· · · · A· · Well, I said before, because of the
17· ·rating agencies to determine potential default rates   17· ·guaranty.
18· ·on underlying collateral.                              18· · · · Q· · And did that guaranty provide an advantage
19· · · · Q· · The rating agencies essentially rating the   19· ·to First Marblehead over its competitors?
20· ·--                                                     20· · · · A· · It provided First Marblehood the
21· · · · A· · Securitization.· Securities.                 21· ·opportunity to sell securities to investors I'll say
22· · · · Q· · The debt securities?                         22· ·at prices that were -- that would be advantageous
23· · · · A· · Correct.                                     23· ·compared to not having a guaranty, yes.
24· · · · Q· · Did TERI's role have any -- excuse me --     24· · · · Q· · Would it be fair to state that the TERI


                                                                                         800.211.DEPO (3376)
                                                                                         EsquireSolutions.com                YVer1f
Case 1-17-01005-ess                  Doc 245-12             Filed 07/13/20            Entered 07/13/20 14:41:38


JOHN HUPALO VOLUME I                                                                                  November 19, 2019
GOLDEN vs NAT L COLLEGIATE STUDENT LOAN                                                                          49–52
                                                     Page 49                                                    Page 51
·1· ·guaranty provided a better opportunity to the First     ·1· · · · A· · Those filings were on behalf of the trust.
·2· ·Marblehead Corporation to sell its debt securities?     ·2· · · · Q· · The trust.· First Marblehead also made
·3· · · · A· · Yes.                                          ·3· ·filings; for example, 10K's, things like that?
·4· · · · Q· · Did TERI help to carry on the trade or     ·4· · · · A· · Correct.
·5· ·business of the First Marblehead Corporation?        ·5· · · · Q· · And the filings on behalf of the First
·6· · · · · · ·MR. FIALKOW:· Objection.                   ·6· ·Marblehead Corporation were directed to the
·7· · · · · · ·THE WITNESS:· Can you say that again?· Did ·7· ·shareholders and potential purchasers of First
·8· ·--                                                   ·8· ·Marblehead stock?
·9· ·BY MR. FREIBERG:                                     ·9· · · · A· · Equity.· Correct.
10· · · · Q· · Did TERI in anyway assist First Marblehead 10· · · · Q· · And the filings on behalf of the trust
11· ·carrying on its business?                            11· ·were directed to the owners of the asset backed
12· · · · A· · Assist from the perspective of providing   12· ·securities?
13· ·the guaranty.· That would be it.                     13· · · · A· · Fundamentally, yes.
14· · · · Q· · Would it be fair to state that the         14· · · · Q· · And also to the potential purchasers of
15· ·guaranty assisted First Marblehead carrying on its   15· ·the asset backed securities?
16· ·business?                                            16· · · · A· · Correct.
17· · · · A· · Yes.· When you said assist I thought you   17· · · · Q· · Essentially to advise them of the -- among
18· ·meant something like with the management operations 18· ·other things -- risks associated with the
19· ·or something like that.· But, no, from the           19· ·investment?
20· ·perspective of providing a guaranty that was an      20· · · · A· · Correct.
21· ·assistance.                                          21· · · · Q· · What is your understanding of why risk
22· · · · Q· · Okay.· You mentioned the word material     22· ·factors are supposed to be disclosed?
23· ·earlier.· I know you have been involved with Capital 23· · · · · · ·MR. FONTINELLI: Object to the form.
24· ·Markets for awhile.· What does the word material     24· · · · · · ·THE WITNESS:· To give the investor an
                                                         Page 50                                                      Page 52
·1· ·mean to you?                                                  ·1· ·opportunity to evaluate what the company believes
·2· · · · A· · In what context?                                    ·2· ·were material, significant, consequential, potential
·3· · · · Q· · In the context of evaluating the credit             ·3· ·risks of why that investment may or may not return
·4· ·worthiness of an investment?                                  ·4· ·-- have a positive return for the investor.· Or in
·5· · · · A· · Material means it was a significant factor          ·5· ·the case of a debt holder what they needed to know
·6· ·in determining for the rating agencies a rating and           ·6· ·to make a judgment about the likelihood of the
·7· ·then for the debt investor's ability to purchase.             ·7· ·return of P&I on their investment.
·8· · · · Q· · Was the TERI guaranty a material advantage          ·8· · · · · · ·(Exhibit No. 1, Term Sheet, marked for
·9· ·for first Marblehead's securitization process?                ·9· ·identification.)
10· · · · A· · Yes.                                                10· · · · · · ·MR. FREIBERG:· Hey, Chris.· I had a copy
11· · · · Q· · Was it a substantial --                             11· ·here for you -- actually, hold on one second, Chris.
12· · · · A· · Difference between substantial and                  12· · · · · · ·MR. FONTINELLI:· Sure.
13· ·material?                                                     13· · · · · · ·MR. FREIBERG:· What we have marked as
14· · · · Q· · Was it significant?                                 14· ·Exhibit No, 1, and I had a copy here for you, is the
15· · · · A· · It was significant.                                 15· ·Term Sheet dated November 27, 2006 for the National
16· · · · Q· · Mr. Hupalo, was there a specific                    16· ·Collegiate Funding, LLC depositor and sponsor.· It
17· ·department within First Marblehead that was                   17· ·has got bates Nos. 2006-4 Golden 240 through 319.
18· ·responsible for preparing the SEC filings?                    18· · · · · · ·MR. FONTINELLI:· Got it.· Thank you.
19· · · · A· · The SEC filings were prepared                       19· · · · · · ·MR. FIALKOW:· Is that copy single sided?
20· ·by a combination -- the legal department was                  20· · · · · · ·MR. FREIBERG:· It is.
21· ·involved.· The Capital Market Group would have been 21· · · · · · ·MR. FIALKOW:· Because mine is double.
22· ·involved.· Others within the finance department.              22· · · · · · ·MR. FREIBERG:· Save some trees.
23· · · · Q· · And those filings were on behalf of First           23· · · · · · ·MR. FIALKOW:· That's fine.· I just want to
24· ·Marblehead itself?                                            24· ·make sure we are looking at the same thing.


                                                                                                  800.211.DEPO (3376)
                                                                                                  EsquireSolutions.com          YVer1f
Case 1-17-01005-ess                    Doc 245-12           Filed 07/13/20            Entered 07/13/20 14:41:38


JOHN HUPALO VOLUME I                                                                                     November 19, 2019
GOLDEN vs NAT L COLLEGIATE STUDENT LOAN                                                                             53–56
                                                 Page 53                                                                      Page 55
·1· · · · · · ·THE WITNESS:· (Witness examines document.) ·1
·2· ·Okay.· Thank you.                                            ·2· · · · A· · Okay.· Good.· So the credit enhancement in
·3· ·BY MR. FREIBERG:                                             ·3· ·this case is the amount of money that would be
·4· · · · Q· · Mr. Hupalo, I know you have had a chance           ·4· ·available to the senior note holders in the case of
·5· ·to take a quick look at that.· I am not going to ask         ·5· ·a shortage of principle or -- or a shortage of cash
·6· ·you about the entirety of the document.· But first           ·6· ·to pay the principle and interest when the bond was
·7· ·of all, do you recognize what this is?                       ·7· ·due?
·8· · · · A· · It looks to me like it's a preliminary             ·8· · · · Q· · You are referring to the subordination of
·9· ·offering statement for the NCLST 2006-4.                     ·9· ·certain classes of notes?
10· · · · Q· · And by offering statement what do you              10· · · · A· · Certain -- that's correct.· So the senior
11· ·mean?                                                        11· ·note holder in this case, Class A, would -- Class A
12· · · · A· · Preliminary prospectus.                            12· ·at least 8th, 1-4, I don't remember about the IO
13· · · · Q· · A prospectus to disclose to potential              13· ·specifically, but they would have the ability to be
14· ·purchasers of the debt securities what the debt              14· ·paid in front of the Class B, C, and D note holders.
15· ·securities were?                                             15· · · · Q· · And that was one of the credit
16· · · · A· · That's right.                                      16· ·enhancements for this -- for these securities?
17· · · · Q· · If you take a look at the very second page         17· · · · A· · For the senior securities.· That's
18· ·of the document --                                           18· ·correct.
19· · · · A· · (Witness complies.)                                19· · · · Q· · But generally speaking what is a credit
20· · · · Q· · By the way, in your role with Capital              20· ·enhancement when you disclose that in a prospectus?
21· ·Markets did you have some responsibility for                 21· · · · A· · It's all -- I'll say all other assets that
22· ·preparing preliminary prospectuses?                          22· ·were available for the payment of -- or the
23· · · · A· · I would have been involved with reviewing          23· ·potential payment of principle and interest beyond
24· ·the document.· That's right.                                 24· ·the income stream from the loans.

                                                        Page 54                                                               Page 56
·1· · · · Q· · So on the second page it has -- right up           ·1· · · · Q· · And there are four credit enhancements
·2· ·at the top there is a couple bullet points.· First           ·2· ·that are listed here.
·3· ·is the classes of the notes listed in the table              ·3· · · · A· · Correct.
·4· ·below.· Those are the debt securities themselves?            ·4· · · · Q· · The first one is excess interest on the
·5· · · · A· · Are we looking at this page?                       ·5· ·student loans. What does that mean?
·6· · · · Q· · Yes.                                               ·6· · · · A· · That just means that, you know, for an
·7· · · · A· · Yes.· Okay.· Good. Yes.                            ·7· ·example if I had an asset that bore 10 percent and I
·8· · · · Q· · So the securities being offered are the            ·8· ·had a debt security at 5 percent, and other
·9· ·debt securities, the notes?                                  ·9· ·servicing costs of 3 percent that would give me 2
10· · · · A· · Correct.· Class A1 notes through D.                10· ·percent excess interest.
11· · · · Q· · And they are backed by the private student         11· · · · Q· · Essentially the spread between the
12· ·loans guaranteed by the Educational Resources --             12· ·underlying asset's interest rate and the debt
13· ·Educational Resources, Inc.?                                 13· ·securities interest rate?
14· · · · A· · Correct.                                           14· · · · A· · Debt securities plus servicing costs and
15· · · · Q· · And again, all the private student loans           15· ·the rest; correct.
16· ·that were in the trust were guarantied by TERI?              16· · · · Q· · And then the second credit enhancement is
17· · · · A· · Yes.                                               17· ·the subordination that you were just mentioning?
18· · · · Q· · Okay.· And then there is a section                 18· · · · A· · Correct.
19· ·entitled Credit Enhancement. First of all, what is a         19· · · · Q· · The third is the reserve account.· Do you
20· ·credit enhancement?                                          20· ·know what that is?
21· · · · A· · Can I see that --                                  21· · · · A· · Cash funded account established at the
22· · · · Q· · It's --                                            22· ·time of the securization for the benefit of the bond
23· · · · A· · Credit.· Okay.                                     23· ·holders.
24· · · · Q· · Yes.                                               24· · · · Q· · Established by who?


                                                                                                    800.211.DEPO (3376)
                                                                                                    EsquireSolutions.com                YVer1f
Case 1-17-01005-ess              Doc 245-12          Filed 07/13/20         Entered 07/13/20 14:41:38


JOHN HUPALO VOLUME I                                                                        November 19, 2019
GOLDEN vs NAT L COLLEGIATE STUDENT LOAN                                                                57–60
                                                  Page 57                                                       Page 59
·1· · · · A· · By the trust.                              ·1· · · · A· · Correct.
·2· · · · Q· · Where did the cash come from?              ·2· · · · Q· · Credit enhancements can come in the form
·3· · · · A· · Proceeds of the transaction.               ·3· ·of letters and credit?
·4· · · · Q· · Did the reserve account include any cash   ·4· · · · A· · Correct.
·5· ·from TERI?                                           ·5· · · · Q· · Or guaranties?
·6· · · · A· · I don't believe so.                        ·6· · · · A· · Correct.
·7· · · · Q· · Okay.· And then the final one is the       ·7· · · · Q· · In your experience in the capital markets
·8· ·Education Resources, Inc.'s guaranty on student      ·8· ·world is bond insurance typically offered by for
·9· ·loans?                                               ·9· ·profit corporations or companies?· For example,
10· · · · A· · Correct.                                   10· ·AMBACK?
11· · · · Q· · Is the credit enhancement from TERI        11· · · · A· · When you say typically, I mean, it was --
12· ·considered an external credit enhancement?· Are you 12· ·it was a regular mechanism in the student loan asset
13· ·familiar with the difference between an internal and 13· ·backed securities market.· It was a known and I will
14· ·an external credit enhancement?                      14· ·say fairly typical, although not -- I don't know
15· · · · A· · If we agree that internal credit           15· ·what the proportions were, but it was known in the
16· ·enhancement comes from within the transaction.· And 16· ·assets backed securities market.
17· ·this came away from the transaction externally.      17· · · · Q· · Bond insurance?
18· ·Then yes, TERI would be an external.                 18· · · · A· · Correct.
19· · · · Q· · Would you agree with me that an external   19· · · · Q· · Is there something called pool insurance?
20· ·credit enhancement is designed to ensure that the    20· · · · A· · I am not sure I understand that term.
21· ·asset backed securities or pool assets will pay in   21· · · · Q· · But typically entities that offer bond
22· ·accordance with the terms of the notes themselves?   22· ·insurance are for profit businesses?
23· · · · · · ·MR. FIALKOW:· Objection.· You can answer.  23· · · · · · ·MR. FONTINELLI: Objection.
24· · · · · · ·MR. FONTINELLI: Objection to form.         24· · · · · · ·THE WITNESS:· I would imagine.· I'm not --

                                                   Page 58                                                   Page 60
·1· · · · · · ·THE WITNESS:· I agree that the guaranty     ·1· ·I am not sure what the differentiate -- as opposed
·2· ·was available because of the way -- the way the       ·2· ·to a not for profit?
·3· ·mechanism worked, which is when the loan defaulted. ·3· ·BY MR. FREIBERG:
·4· ·Then TERI would repurchase that loan and the cash    ·4· · · · Q· · Correct.
·5· ·would come into the trust.                           ·5· · · · A· · I don't know why a not for profit would
·6· ·BY MR. FREIBERG:                                     ·6· ·offer bonds --
·7· · · · Q· · Okay.· A credit enhancment is designed to  ·7· · · · Q· · Wouldn't offer bond bond insurance.
·8· ·enhance the likelihood that the purchasers of the -- ·8· ·That's what I am getting at.· Let me so we are very
·9· · · · A· · Notes are going to receive full benefit.   ·9· ·clear.
10· · · · Q· · Okay.· The purchasers of the asset backed  10· · · · A· · Uh-huh.
11· ·securities?                                          11· · · · Q· · Is it your understanding that typically
12· · · · A· · Correct.                                   12· ·companies that offer bond insurance, insurance to
13· · · · Q· · That they are going to receive regular and 13· ·ensure bonds, are for private businesses?· For
14· ·-- regular payments of the principle and interest    14· ·profit businesses?· Excuse me.
15· ·from their investments?                              15· · · · A· · The bond insurers themselves are for
16· · · · A· · Correct.                                   16· ·profit businesses, yes.
17· · · · Q· · Okay.· Was the credit enhancement designed 17· · · · Q· · And typically entities that offer letters
18· ·to make the debt securities more attractive to       18· ·of credit are for profit businesses; correct?
19· ·investors?                                           19· · · · A· · Yes.
20· · · · A· · Yes.                                       20· · · · Q· · Such as banks?
21· · · · Q· · And external credit enhancements can come 21· · · · A· · Yes.
22· ·in the form of like bond insurance?                  22· · · · Q· · Typically -- strike the question.
23· · · · A· · Yes.                                       23· · · · · · ·In your experience, was TERI the only not
24· · · · Q· · For example, AMBACK?                       24· ·for profit business that guaranteed student loans?


                                                                                        800.211.DEPO (3376)
                                                                                        EsquireSolutions.com              YVer1f
Case 1-17-01005-ess               Doc 245-12          Filed 07/13/20          Entered 07/13/20 14:41:38


JOHN HUPALO VOLUME I                                                                         November 19, 2019
GOLDEN vs NAT L COLLEGIATE STUDENT LOAN                                                                 61–64
                                                     Page 61                                                   Page 63
·1· · · · · · ·MR. FONTINELLI: Objection.                      ·1· · · · A· · From the perspective that they provided
·2· · · · · · ·THE WITNESS:· At that point they may have       ·2· ·the guaranty that allowed them to securitize the
·3· ·been.· They probably were.                                ·3· ·loans and generate revenue, yes.
·4· ·BY MR. FREIBERG:                                          ·4· · · · Q· · Was TERI compensated in anyway for
·5· · · · Q· · The only not for profit --                      ·5· ·providing the credit enhancement?
·6· · · · A· · There was another not for profit as I           ·6· · · · A· · They received a guaranty.
·7· ·recall called Hemar Insurance Corporation of America      ·7· · · · Q· · And the residuals that we talked about
·8· ·in the 90's into early 2000's.· Sallie Mae purchased      ·8· ·earlier was that in anyway compensation for TERI
·9· ·them at some point.· So I don't know what -- I don't      ·9· ·providing the credit enhancement?
10· ·remember the timing of the overlap.· But at that          10· · · · A· · I don't believe so.· And I say that only
11· ·point I believe TERI was, if not the only, the            11· ·because when I looked here and saw depositor and
12· ·predominant issuer of student loan guaranties for         12· ·sponsor I realized I didn't remember all the terms
13· ·private credit loans.                                     13· ·quite right either.· But I don't believe that they
14· · · · Q· · Okay.· And the loans that ended up in the       14· ·were beneficiaries of the residual.
15· ·trust were not backed or enhanced by any letters of       15· · · · Q· · Was -- other than the guaranty fee TERI
16· ·credit; is that right?                                    16· ·paid it all for providing the credit enhancement?
17· · · · A· · That's correct.                                 17· · · · A· · Not that I remember.
18· · · · Q· · And there was no bond insurance that            18· · · · Q· · And did the disclosure that we are looking
19· ·enhanced the credit of the loans?                         19· ·at here -- and this is for the 2006-4 trust, did the
20· · · · A· · No bond insurance on the loans; that's          20· ·credit enhancement apply to all of the trusts that
21· ·correct.                                                  21· ·were formed to hold the private student loans
22· · · · Q· · No corporate guaranties?                        22· ·guarantied by TERI?
23· · · · A· · That's correct.· With the potential             23· · · · · · ·MR. FONTINELLI: Objection.
24· ·exception of some of the -- and I don't think this        24· · · · · · ·THE WITNESS:· You said the credit --

                                                   Page 62                                                     Page 64
·1· ·is the subject of this.· It might be out of scope.        ·1· ·BY MR. FREIBERG:
·2· ·But the gate loans were contingent liabilities for        ·2· · · · Q· · The credit enhancement.· Let me rephrase
·3· ·some of the colleges that were participating in the       ·3· ·the question.
·4· ·program.· But those loans would not have been             ·4· · · · · · ·Did the disclosures for the other trusts,
·5· ·included that I remember in the National Collegiate       ·5· ·other than the 2006-4, did they generally list the
·6· ·student loan series.                                      ·6· ·TERI guaranty as a credit enhancement?
·7· · · · Q· · And the loans that ended up in the trust        ·7· · · · · · ·MR. FONTINELLI: Object to foundation.
·8· ·-- I may have asked you this earlier.· I apologize        ·8· · · · · · ·THE WITNESS:· Yes.· Assuming that the
·9· ·if I did -- weren't guarantied by any state or            ·9· ·loans were TERI guarantied they would have, yes.
10· ·federal --                                                10· ·BY MR. FREIBERG:
11· · · · A· · That's correct.                                 11· · · · Q· · So the -- when you were preparing the
12· · · · Q· · -- agency?· Was the TERI guaranty a             12· ·disclosures for all of the trusts, generally
13· ·material aspect to enhancing the credit of the asset      13· ·speaking, the TERI guarantee was listed as a credit
14· ·backed securities?                                        14· ·enhancement?
15· · · · A· · I think we said before it was, yes.             15· · · · A· · Correct.
16· · · · Q· · Was the -- was TERI a significant external      16· · · · Q· · Are you familiar with the term significant
17· ·credit enhancement provider?                              17· ·obligor?
18· · · · A· · For the same reason because they provided       18· · · · A· · Can you refresh my memory?
19· ·the guaranty.                                             19· · · · Q· · Sure.· If you --
20· · · · Q· · Was TERI's credit enhancement material to       20· · · · · · ·(Exhibit No. 2, Form 10D, marked for
21· ·you personally?                                           21· ·identification.)
22· · · · A· · No.                                             22· ·BY MR. FREIBERG:
23· · · · Q· · Was TERI's credit enhancement material to       23· · · · Q· · I will show you what we will mark as
24· ·First Marblehead?                                         24· ·Exhibit No. 2.


                                                                                          800.211.DEPO (3376)
                                                                                          EsquireSolutions.com             YVer1f
Case 1-17-01005-ess               Doc 245-12           Filed 07/13/20         Entered 07/13/20 14:41:38


JOHN HUPALO VOLUME I                                                                         November 19, 2019
GOLDEN vs NAT L COLLEGIATE STUDENT LOAN                                                                 65–68
                                                   Page 65                                                      Page 67
·1· · · · A· · Thank you. (Witness examines document.)       ·1· · · · Q· · And then there is Part II, other
·2· · · · · · ·MR. FREIBERG:· And, Chris, while Mr.          ·2· ·information.· What I would like to ask you about is
·3· ·Hupalo is looking through that, this is the Form 10D    ·3· ·Item No. 6 --
·4· ·for the National Collegiate Student Loan Trust          ·4· · · · A· · Okay.
·5· ·2006-4.· It bears bate Nos. 2006-4 Golden 960           ·5· · · · Q· · ·-- where it says significant obligors of
·6· ·through 1000.                                           ·6· ·pool assets.
·7· · · · · · ·MR. FONTINELLI: Got it.· Thank you.           ·7· · · · A· · Okay.· Go ahead.
·8· ·BY MR. FREIBERG:                                        ·8· · · · Q· · So back to my initial question, can you
·9· · · · Q· · Mr. Hupalo, what we are looking at now,       ·9· ·tell us what you understand to be a significant
10· ·Exhibit No. 2, is a Form 10B for the period between     10· ·obligor of pool assets?
11· ·December 7th, 2006 and February 25th, 2007.             11· · · · · · ·MR. FIALKOW:· Objection.· You can answer
12· · · · · · ·First of all, on the third page I notice      12· ·if you know.
13· ·it was signed by Rosalyn Bonaventure?                   13· · · · · · ·THE WITNESS:· In this exhibit Item VI,
14· · · · A· · That's right.                                 14· ·what page would that be on?· It's TERI's financial
15· · · · Q· · And who was she?                              15· ·statement so I would take it to mean significant
16· · · · A· · She was the president of First Marblehead     16· ·obligor's was the result of them providing the
17· ·Data Services, Inc., which was the business unit at     17· ·guaranty to the loans.
18· ·First Marblehead that was responsible for keeping       18· · · · · · ·So it would be, as you said before, a
19· ·track of all of the trust data and information and      19· ·material consideration in funding the pool.· So they
20· ·compiling these reports.                                20· ·would be obligor's of the underlying pool assets as
21· · · · Q· · Reports to file with the Securities and       21· ·a guarantor.
22· ·Exchange Commission?                                    22· ·BY MR. FREIBERG:
23· · · · A· · That's correct.                               23· · · · Q· · TERI was an obligor of the pool assets
24· · · · Q· · Why was First Marblehead Data Services,       24· ·itself?· Meaning TERI -- I am going to use this word

                                                      Page 66                                                     Page 68
·1· ·Inc. responsible for compiling filings -- preparing      ·1· ·a little loosely -- owed something to the pool
·2· ·and compiling filings for the trusts?                    ·2· ·assets by virtue of the guaranty?
·3· · · · · · ·MR. FONTINELLI: Objection.· Foundation.        ·3· · · · · · ·MR. FIALKOW:· Objection.
·4· · · · · · ·THE WITNESS:· You are handing me this      ·4· · · · · · ·MR. FONTINELLI: Objection.
·5· ·document, sir, to answer my request to be refreshed  ·5· · · · · · ·THE WITNESS:· If there was a default.
·6· ·about significant obligor --                         ·6· ·BY MR. FREIBERG:
·7· ·BY MR. FREIBERG:                                     ·7· · · · Q· · And you said a second ago, material
·8· · · · Q· · Uh-huh.                                    ·8· ·consideration for funding the pool assets.· What did
·9· · · · A· · Could you -- could we go through that      ·9· ·you mean by that?
10· ·first?                                               10· · · · A· · What we had described before that it was
11· · · · Q· · Sure.· Of course.                          11· ·one of the criteria or evaluation factors by the
12· · · · A· · It might have something to do with this.   12· ·rating agencies and investors.
13· · · · Q· · If you look -- first of all, do you -- can 13· · · · Q· · The TERI guarantee?
14· ·you tell us what the purpose of a Form 10D -- a      14· · · · A· · Correct.
15· ·distribution report is?                              15· · · · Q· · But it was material?
16· · · · A· · Yes.· So that the asset backed securities  16· · · · A· · Correct.
17· ·holders and others could see how the performance of 17· · · · Q· · And I guess the question I am struggling
18· ·the trust was -- was going.                          18· ·with is why was TERI considered a significant
19· · · · Q· · And if you look at the third page of this  19· ·obligor of the trust assets?
20· ·document, there are two parts.· Part I is            20· · · · · · ·MR. FIALKOW:· Objection.· You can answer.
21· ·distribution information.· And I understand that     21· · · · · · ·THE WITNESS:· Because of the underlying
22· ·there is financial information that shows            22· ·guarantee.
23· ·distributions.                                       23· ·BY MR. FREIBERG:
24· · · · A· · Correct.                                   24· · · · Q· · And because it was a significant obligor


                                                                                          800.211.DEPO (3376)
                                                                                          EsquireSolutions.com              YVer1f
Case 1-17-01005-ess                  Doc 245-12        Filed 07/13/20            Entered 07/13/20 14:41:38


JOHN HUPALO VOLUME I                                                                             November 19, 2019
GOLDEN vs NAT L COLLEGIATE STUDENT LOAN                                                                     69–72
                                                   Page 69                                                   Page 71
·1· ·the trusts themselves were required to disclose       ·1· · · · · · ·MR. FONTINELLI: Objection.
·2· ·TERI's financial statements --                        ·2· · · · · · ·THE WITNESS:· There is a calculation known
·3· · · · A· · Correct.                                   ·3· ·as the parity ratio which was assets divided by
·4· · · · Q· · ·-- in the SEC filings.· And was that      ·4· ·liabilities.· And for the purpose of that ratio I
·5· ·across the board for all of the trusts?              ·5· ·don't recall if it was included or not.
·6· · · · A· · It would be the same for all the trusts.   ·6· ·BY MR. FREIBERG:
·7· · · · Q· · If you could -- going back to what we were ·7· · · · Q· · The money in the TERI pledge fund, whose
·8· ·speaking about a moment ago.· First Marblehead Data ·8· ·money was that?
·9· ·Services, Inc. had some role in compiling the        ·9· · · · A· · TERI's money.
10· ·disclosures, the SEC disclosures for the trusts      10· · · · Q· · And it was pledged by TERI to the trusts?
11· ·themselves?                                          11· · · · A· · Correct.
12· · · · A· · Correct.                                   12· · · · Q· · To -- against potential defaults by the
13· · · · Q· · Why was that?                              13· ·borrowers?
14· · · · A· · If I am recalling correctly they were      14· · · · A· · In effect, that was the guaranty.
15· ·obligated by contract to do that as one of the       15· · · · Q· · Why is the TERI pledge fund, which
16· ·services -- one of the services required to maintain 16· ·consisted of TERI money, listed in the asset and
17· ·the -- to have a publicly registered security.       17· ·liability summary for the trusts?
18· · · · Q· · But why was First Marblehood Data Services 18· · · · A· · Because when the -- I would imagine in the
19· ·doing it as opposed to someone else?                 19· ·offering document there was a similar disclosure
20· · · · · · ·MR. FIALKOW:· Objection.· You just asked   20· ·saying that this amount would be pledged to the
21· ·him that question.                                   21· ·trust.
22· · · · · · ·THE WITNESS:· Again, I think it was as a   22· · · · Q· · And did the trust have an actual financing
23· ·result of the full package of services.              23· ·statement or security interest in the TERI pledge
24· ·BY MR. FREIBERG:                                     24· ·fund?

                                                      Page 70                                                          Page 72
·1· · · · Q· · If you could go to the page on the bottom        ·1· · · · · · ·MR. FONTINELLI: Objection.
·2· ·there are numbers?                                         ·2· · · · · · ·THE WITNESS:· I would believe it did but I
·3· · · · A· · Yes.                                             ·3· ·don't recall specifically.· I would think so.
·4· · · · Q· · Go to 965.                                       ·4· ·BY MR. FREIBERG:
·5· · · · A· · (Witness complies.)                              ·5· · · · Q· · Who held the TERI Pledge Fund?
·6· · · · Q· · And if I am understanding this correctly         ·6· · · · A· · TERI.
·7· ·this is a -- I guess you could say a financial             ·7· · · · Q· · Because the TERI guaranty was considered a
·8· ·statement for the trust itself on this page.               ·8· ·material consideration for the pool of assets --
·9· · · · A· · Correct.                                         ·9· ·just so we can kind of short circuit this -- that's
10· · · · Q· · And it has an asset and liability summary?       10· ·why a lot of the trusts disclosures had to disclose
11· · · · A· · That's right.                                    11· ·TERI's financials?
12· · · · Q· · Under Section B --                               12· · · · A· · Correct.
13· · · · A· · Yes.                                             13· · · · Q· · So that investors looking to buy the debt
14· · · · Q· · There is a category of trust accounts and        14· ·securities would know about TERI's financial
15· ·TERI pledge fund.                                          15· ·condition?
16· · · · A· · Correct.                                         16· · · · A· · Correct.
17· · · · Q· · No. 4 is listed as a TERI pledge fund.           17· · · · Q· · I am going to ask you to take a look at
18· · · · A· · Correct.                                         18· ·the page that at the bottom is designated 978, is
19· · · · Q· · What was the TERI pledge fund?                   19· ·the number that appears down there.
20· · · · A· · As I remember it, that would have been the       20· · · · A· · Okay.
21· ·amount of TERI assets that are pledged to potential        21· · · · Q· · And these are what we are looking at the
22· ·defaults against this pool.                                22· ·financial statements for TERI itself.· They were
23· · · · Q· · And was the TERI pledge fund considered an       23· ·included in the trust disclosure?
24· ·asset of the trusts?                                       24· · · · A· · Correct.


                                                                                             800.211.DEPO (3376)
                                                                                             EsquireSolutions.com                YVer1f
Case 1-17-01005-ess                 Doc 245-12            Filed 07/13/20              Entered 07/13/20 14:41:38


JOHN HUPALO VOLUME I                                                                                   November 19, 2019
GOLDEN vs NAT L COLLEGIATE STUDENT LOAN                                                                           73–76
                                                         Page 73                                                       Page 75
·1· · · · Q· · I am going to ask you real quick about the          ·1· ·significant impact on the financial condition of the
·2· ·category in the assets column that speaks of the              ·2· ·trusts themselves?
·3· ·residual interest in the securitized portfolios.              ·3· · · · · · ·MR. FONTINELLI: Objection.· Form.
·4· · · · A· · Okay.                                               ·4· · · · · · ·THE WITNESS:· Yes.
·5· · · · Q· · And I guess my question is, how did --              ·5· · · · · · ·MR. FREIBERG:· Want to take a quick break?
·6· ·well, first of all, did all of the trusts that held           ·6· · · · · · ·MR. FONTINELLI:· Sure.· Quick break
·7· ·the private student loans provide for TERI to have a          ·7· ·because you are regrouping or like winding up?
·8· ·residual interest in the securitized portfolios?              ·8· · · · · · ·MR. FREIBERG:· I'm regrouping.
·9· · · · · · ·MR. FONTINELLI: Objection.                          ·9· · · · · · ·MR. FONTINELLI:· Okay.· Got it.
10· · · · · · ·THE WITNESS:· As I said before, I didn't            10· · · · · · ·(Recess.)
11· ·recall whether there was a -- whether they held a             11· ·BY MR. FREIBERG:
12· ·residual interest or not, but this tells me that              12· · · · Q· · Mr. Hupalo --
13· ·they did.                                                     13· · · · A· · Hupalo.
14· ·BY MR. FREIBERG:                                              14· · · · Q· · -- I know you came to First Marblehead in
15· · · · Q· · And the residual interest that TERI held            15· ·2003.
16· ·was the same thing that First Marblehead had?                 16· · · · A· · Correct.
17· ·Essentially an interest in the remainder of the               17· · · · Q· · After the transaction between TERI and
18· ·trust after everything had run off?                           18· ·First Marblehead.
19· · · · · · ·MR. FIALKOW:· Objection.· You can answer.           19· · · · A· · Correct.
20· · · · · · ·THE WITNESS:· Correct.                              20· · · · Q· · Did you ever have an opportunity to look
21· ·BY MR. FREIBERG:                                              21· ·or to see the transactional documents?
22· · · · Q· · What was the residual interest being                22· · · · A· · I don't remember seeing them.
23· ·provided to TERI?· What was that compensation for?            23· · · · Q· · Okay.
24· · · · A· · Well, as I said before, I didn't recall             24· · · · · · ·MR. FREIBERG:· What I might do, David,

                                                      Page 74                                                        Page 76
·1· ·that they received a residual interest so I don't             ·1· ·rather than asking him about a bunch of documents
·2· ·have any recollection of what it was meant to be.             ·2· ·that he has never seen, we can just go ahead and
·3· · · · Q· · So you can't tell us why TERI got the               ·3· ·mark them as exhibits to the deposition?
·4· ·residual interest in the trust?                               ·4· · · · · · ·MR. FONTINELLI:· You can do whatever you
·5· · · · · · ·MR. FONTINELLI: Objection.                          ·5· ·like.
·6· · · · · · ·THE WITNESS:· No.                                   ·6· · · · · · ·MR. FREIBERG: Okay.· With that what I
·7· ·BY MR. FREIBERG:                                              ·7· ·would like to do is to mark as Exhibit No. 3 the
·8· · · · Q· · Okay.· Would it be fair to state that               ·8· ·Master Loan Guaranty Agreement between the First
·9· ·TERI's financial condition had a significant impact           ·9· ·Marblehead Corporation and Education Resources, Inc.
10· ·on the credit worthiness of the debt securities               10· · · · · · ·Chris, for your purposes, this is bates
11· ·issued by the trusts?                                         11· ·Nos. FM-Golden 61 through 173.
12· · · · A· · Yes.                                                12· · · · · · ·(Exhibit No. 3, Master Loan Guaranty
13· · · · Q· · Would it be fair to state that TERI's               13· ·Agreement, First Marblehead Corporation and
14· ·financial condition had a material effect on the              14· ·Education Resources, Inc., marked for
15· ·credit worthiness of the debt securities issued by            15· ·identification.)
16· ·the trust?                                                    16· · · · · · ·Exhibit No. 4 will be the Database Sale
17· · · · A· · Yes, from the perspective of rating                 17· ·and Supplementation Agreement.· And this is bate
18· ·agencies considered it to be a material factor as we          18· ·Nos. FM-Golden 43 through 60.
19· ·talked about before.                                          19· · · · · · ·(Exhibit No. 4, Database Sale and
20· · · · Q· · The ratings provided by the rating                  20· ·Supplementation Agreement, marked for
21· ·agencies are used -- looked at by investors?                  21· ·identification.)
22· · · · A· · The debt investors; correct.                        22· · · · · · ·Exhibit No. 5 will be the Marketing
23· · · · Q· · The debt investors.· Would it be fair to            23· ·Services Agreement.· And this is bates Nos.
24· ·state that TERI's financial condition had a                   24· ·FM-Golden 174 through 198.


                                                                                                   800.211.DEPO (3376)
                                                                                                   EsquireSolutions.com          YVer1f
Case 1-17-01005-ess                     Doc 245-12           Filed 07/13/20                Entered 07/13/20 14:41:38


JOHN HUPALO VOLUME I                                                                                   November 19, 2019
GOLDEN vs NAT L COLLEGIATE STUDENT LOAN                                                                           77–80
                                                           Page 77                                                           Page 79
·1· · · · · · ·(Exhibit No. 5, Marketing Services                    ·1· ·question -- to your questions reflected what I
·2· ·Agreement, marked for identification.)                          ·2· ·thought that document might say rather than what I
·3· · · · · · ·And, lastly will be the Master Service                ·3· ·know it says.
·4· ·Agreement between TERI and the First Marblehead                 ·4· · · · Q· · The two items that I was going to ask you
·5· ·Corporation.· This will be Exhibit No. 6                        ·5· ·about from the document are the residuals and
·6· ·and it's bate Nos. FM-Golden 6 through 42.                      ·6· ·whether you could explain to us how the Master Loan
·7· · · · · · ·MR. FONTINELLI:· What was that again?                 ·7· ·Guaranty Agreement set up the process by which TERI
·8· · · · · · ·MR. FREIBERG:· 6 through 42.                          ·8· ·would receive residuals in the trust?
·9· · · · · · ·MR. FONTINELLI:· Thank you.                           ·9· · · · · · ·THE WITNESS:· I could not do that.
10· · · · · · ·(Exhibit No. 6, Master Service Agreement,             10· · · · · · ·MR. FONTINELLI:· Objection.
11· ·TERI and First Marblehead Corporation, marked for               11· · · · · · ·MR. FREIBERG:· If you heard his answer, he
12· ·identification.)                                                12· ·said he couldn't explain that to us.
13· · · · · · ·(Discussion off the record.)                          13· · · · · · ·MR. FONTINELLI:· I'm sorry about that.
14· ·BY MR. FREIBERG:                                                14· · · · · · ·MR. FREIBERG:· No worries.
15· · · · Q· · Mr. Hupalo, are you familiar at all with              15· ·BY MR. FREIBERG:
16· ·the Master Loan Guaranty Agreement between TERI and 16· · · · Q· · Do you have any understanding of how the
17· ·First Marblehead?                                               17· ·guaranty fees that TERI was earning how -- what the
18· · · · A· · Other than just hearing of it now and then            18· ·structure was or the mechanics were how those
19· ·recalling that there was an agreement in place to               19· ·guaranty fees were pledged to the trusts?
20· ·have that agreement in place, yes.                              20· · · · A· · The mechanism that was used?
21· · · · Q· · And is it your understanding that First               21· · · · Q· · Yes.
22· ·Marblehead agreed to create a market for its private            22· · · · A· · I don't know.
23· ·labeled clients to sell TERI guarantied loans and               23· · · · Q· · Do you know whether or not the guaranty
24· ·this is part of the transaction that happened in                24· ·fees that TERI earned were held in segregated

                                                           Page 78                                             Page 80
·1· ·2001?                                                ·1· ·accounts?
·2· · · · A· · Uh-huh.                                    ·2· · · · A· · I believe some of them were.
·3· · · · Q· · You have to say yes or no.                 ·3· · · · Q· · And were those guaranty fees that TERI
·4· · · · A· · Yes.                                       ·4· ·received and was paid for the guaranty were they
·5· · · · Q· · Okay.· And that First Marblehead agreed to ·5· ·held for the benefit of the program lender?
·6· ·cause securitizations of the TERI guarantied loans?  ·6· · · · A· · I saw in some of the documents here and
·7· · · · A· · Yes.                                       ·7· ·refreshed me that they were.
·8· · · · A· · Yes.                                       ·8· · · · Q· · Okay.· Were they held for the benefit of
·9· · · · Q· · And the Master Loan Guaranty Agreement was ·9· ·the trust themselves?
10· ·intended to create a framework for structuring       10· · · · · · ·MR. FONTINELLI: Objection.
11· ·future relationships between TERI, First Marblehead  11· · · · · · ·THE WITNESS:· Based on what I saw here,
12· ·and the bank lenders?                                12· ·again, I think that they were.
13· · · · A· · And I am saying yes because I assume by    13· ·BY MR. FREIBERG:
14· ·the title of that document that is what it was       14· · · · Q· · And those funds were essentially, as you
15· ·created to do.· I have no --                         15· ·said earlier, pledged to the trust?
16· · · · · · ·MR. FIALKOW:· I am just going to -- if you 16· · · · A· · Correct.
17· ·-- if you don't have a recollection or know the      17· · · · Q· · Do you know what the nature of the pledge
18· ·answer I think that you should state that.· But      18· ·was?
19· ·don't make assumptions regarding the documents, if   19· · · · A· · When you say nature of the pledge the --
20· ·you can.                                             20· · · · Q· · What was the purpose of the pledge?
21· ·BY MR. FREIBERG:                                     21· · · · A· · The purpose of a pledge would have been to
22· · · · Q· · I would agree with that.                   22· ·let the bondholders, the rating agencies and others
23· · · · A· · Okay.· So I don't have any specific        23· ·know that there was cash available to make good on
24· ·recollection of that document.· So the answer to my  24· ·the TERI guaranty.


                                                                                                    800.211.DEPO (3376)
                                                                                                    EsquireSolutions.com               YVer1f
Case 1-17-01005-ess                   Doc 245-12            Filed 07/13/20                Entered 07/13/20 14:41:38


JOHN HUPALO VOLUME I                                                                                      November 19, 2019
GOLDEN vs NAT L COLLEGIATE STUDENT LOAN                                                                              81–84
                                                          Page 81                                                        Page 83
·1· · · · Q· · And the TERI pledge fund, do you know                ·1· · · · · · ·MR. FONTINELLI: Objection.· Which data?
·2· ·whether or not, other than what we looked at earlier           ·2· ·BY MR. FREIBERG:
·3· ·was it listed as an asset on the financial                     ·3· · · · Q· · The data that was purchased by First
·4· ·statements for the trusts themselves?                          ·4· ·Marblehead from TERI pursuant to the Database Sale
·5· · · · · · ·MR. FONTINELLI: Objection.                           ·5· ·and Supplementation Agreement?
·6· · · · · · ·THE WITNESS:· In the document it was.                ·6· · · · · · ·MR. FONTINELLI: Objection.
·7· ·BY MR. FREIBERG:                                               ·7· · · · · · ·THE WITNESS:· Yes.· I am not drawing a
·8· · · · Q· · The pledge fund did not consist of money             ·8· ·recollection on how we would have used that -- that
·9· ·from the banks?                                                ·9· ·data.· Again, from the capital markets perspective
10· · · · A· · The pledge fund as I remember it and                 10· ·what was important to us was that the guaranty was
11· ·refreshed by the documents was cashed from TERI.               11· ·in place. And the specific mechanism of that, as you
12· · · · Q· · Who owned or kept the interest on those              12· ·can hear from me, I'm not recalling in detail.
13· ·pledge funds, do you know?                                     13· ·BY MR. FREIBERG:
14· · · · A· · I don't know.                                        14· · · · Q· · I understand this may have been out of
15· · · · Q· · Are you familiar at all with the process             15· ·your department, but between 2002 and 2008 was TERI
16· ·by which First Marblehead purchased TERI's database? 16· ·paying First Marblehead to perform administrative
17· · · · A· · Not specifically.                                    17· ·services?
18· · · · Q· · Do you know anything about how First                 18· · · · A· · Again, I am not recalling that.· But I
19· ·Marblehead used the information that was contained             19· ·think there was a document that said there was an
20· ·in TERI's database after the purchase in 2001?                 20· ·agreement so, yes.
21· · · · A· · When I arrived in 2003, in March or so of            21· · · · Q· · Between 2001 and 2008 what was First
22· ·2003, that was already part of the business of First           22· ·Marblehead's revenue trajectory, I guess you could
23· ·Marblehead.· So it was available -- the data would             23· ·say?· Did the revenue increase every year?
24· ·have been available for use for underwriting -- for            24· · · · A· · It was upward sloping.

                                                          Page 82                                                               Page 84
·1· ·suggesting underwriting criteria and the like.                 ·1· · · · Q· · I'm sorry?
·2· · · · Q· · What kind of data was there, do you                  ·2· · · · A· · It was upward sloping.· Yes, it was
·3· ·recall?                                                        ·3· ·increasing.
·4· · · · A· · There would have been data about defaults,           ·4· · · · Q· · And would that include revenue?
·5· ·delinquencies on underlying loans that were                    ·5· · · · A· · Total revenue?· Yes.
·6· ·originated from whatever the purchase period was.              ·6· · · · Q· · Total revenue.· Net income also was --
·7· · · · Q· · Did the data include credit scores,                  ·7· · · · A· · Yes.
·8· ·borrower credit information?                                   ·8· · · · Q· · ·-- upward sloping?
·9· · · · A· · I don't recall that.                                 ·9· · · · A· · Yes.
10· · · · Q· · Did it include loan payment histories,               10· · · · Q· · Earnings per share were upward sloping
11· ·statistics, things like that?                                  11· ·during that period of time?
12· · · · A· · I don't recall specifically.                         12· · · · A· · Generally.· I can't remember quarter to
13· · · · Q· · Do you know how many years of data there             13· ·quarter, but generally, yes.
14· ·were that was purchased by First Marblehead?                   14· · · · Q· · And in that period of time did First
15· · · · A· · I don't.                                             15· ·Marblehead issue more than 10 billion dollars in
16· · · · Q· · And why was the data that it purchased               16· ·asset backed securities?
17· ·from TERI important to First Marblehead?                       17· · · · · · ·MR. FONTINELLI: Objection.· Foundation.
18· · · · · · ·MR. FONTINELLI: Objection.                           18· ·BY MR. FREIBERG:
19· · · · · · ·THE WITNESS:· Yes.· Again, I would be                19· · · · Q· · Good question.· Do you recall -- I should
20· ·speculating if I answer that question.                         20· ·say good objection -- between 2001 and 2008 what was
21· ·BY MR. FREIBERG:                                               21· ·the total amount of asset backed securities that
22· · · · Q· · Okay.· Can you tell us at all how the data           22· ·were securitized by First Marblehead?
23· ·that First Marblehead purchased from TERI fit into             23· · · · A· · I don't recall specifically but 10 billion
24· ·the securitization process?                                    24· ·is probably a fairly good ballpark estimate of that.


                                                                                                      800.211.DEPO (3376)
                                                                                                      EsquireSolutions.com                YVer1f
Case 1-17-01005-ess                Doc 245-12             Filed 07/13/20      Entered 07/13/20 14:41:38


JOHN HUPALO VOLUME I                                                                          November 19, 2019
GOLDEN vs NAT L COLLEGIATE STUDENT LOAN                                                                  85–88
                                                        Page 85                                                    Page 87
·1· · · · Q· · And were all of those loans, all of those        ·1· ·not-for-profit status of TERI was relevant somehow
·2· ·assets, originated through First Marblehead?               ·2· ·to dischargeability?
·3· · · · A· · Yes.                                       ·3· · · · A· · It may have been.
·4· · · · Q· · And were all of those assets comprising    ·4· · · · Q· · OKay.· Do you recall, though, in your
·5· ·the 10 billion dollars in securitizations were all   ·5· ·discussions within the Capital Market groups ever
·6· ·of those student loans that were guaranteed by TERI? ·6· ·talking about the not-for-profit status of TERI?
·7· · · · A· · Yes.· I think we said that before a couple ·7· · · · A· · No, but I do recall talking about
·8· ·of times.                                            ·8· ·non-dischargeability.
·9· · · · Q· · TERI's not-for-profit status was important ·9· · · · Q· · Okay.· Was the not-for-profit status, to
10· ·to First Marblehead; correct?                        10· ·your understanding -- how did that effect
11· · · · A· · Not-for-profit status?· I'm not sure that  11· ·dischargeability?· Let's put it that way.
12· ·that was important.                                  12· · · · A· · Again, I don't specifically recall but I
13· · · · Q· · Why was TERI -- well, what I am getting at 13· ·sort of vaguely recall that there was some
14· ·is why, if at all, was TERI's not-for-profit status  14· ·permission for not for profits to have some -- I am
15· ·important to Marblehead?                             15· ·going to say carve out because I just don't think --
16· · · · A· · You are jogging my memory.· So as you are  16· ·I can't of the right term -- to issue a loan
17· ·asking these questions and I'm saying, well, I am    17· ·guaranty for private credit student loan.
18· ·not sure why you are asking that.· And then you ask  18· · · · Q· · Sir, let me take a step back to the period
19· ·a follow up and then I sort of, okay -- now I know   19· ·of time between 2003 and 2008.· We talked earlier
20· ·where you are coming from.                           20· ·about the profitability of First Marblehead
21· · · · · · ·So, TERI, if I recall this correctly and   21· ·depending mostly on its securitization processes.
22· ·vaguely, they were empowered as a guarantor source 22· · · · A· · That's right.
23· ·under some special provisions that a not-for-profit  23· · · · Q· · And would it be fair to state that First
24· ·-- that it was required or necessary to have a not   24· ·Marblehead was better able to market the securities,

                                                        Page 86                                                 Page 88
·1· ·for profit to be able to issue those guaranties.     ·1· ·the debt securities, because the underlying debt was
·2· · · · Q· · And do you recall if that had anything to  ·2· ·guaranteed by TERI?
·3· ·do with the dischargeability of the student loans?   ·3· · · · A· · I believe you asked me before and I said,
·4· ·Does that word ring a bell to you; dischargeability? ·4· ·yes.
·5· · · · A· · I understand about dischargeability.       ·5· · · · Q· · Before 2001 the guaranties were paid to
·6· · · · Q· · What do you understand about               ·6· ·the lending banks.· Let me rephrase the question.
·7· ·dischargeability?                                    ·7· · · · · · ·If prior to 2001 a borrower defaulted,
·8· · · · · · ·MR. FIALKOW:· Objection.· To the extent    ·8· ·TERI would pay the guaranty to the bank?
·9· ·that you can answer that question with your own      ·9· · · · · · ·MR. FIALKOW:· Objection.· Are you asking
10· ·knowledge you are free to answer that.· To the       10· ·prior to 2001?
11· ·extent you are going to disclose conversations with  11· · · · · · ·MR. FONTINELLI: Objection.
12· ·your counsel then I advise you not to --             12· ·BY MR. FREIBERG:
13· ·BY MR. FREIBERG:                                     13· · · · Q· · Yes.· If you have any understanding --
14· · · · Q· · Yes.· I don't -- I don't want to hear what 14· · · · A· · I don't.· I don't know.
15· ·you may have learned from David or any· of the other 15· · · · Q· · While you were there and borrowers
16· ·attorneys.· But just what your personal              16· ·defaulted the TERI guaranty was paid to the trust?
17· ·understanding of dischargeability is.                17· · · · A· · The trust.· Correct.
18· · · · A· · Dischargability, as I understand it, is    18· · · · Q· · The trusts that were established by First
19· ·when you are involved in a bankruptcy proceeding     19· ·Marblehead?
20· ·what assets, meaning credit cards or mortgages or    20· · · · A· · Correct.
21· ·student loans, can be discharged or forgiven or      21· · · · Q· · By the way, sir, who administers the
22· ·relieved or however you want to think about that, or 22· ·trusts, if I could use that word?
23· ·not.                                                 23· · · · A· · I think we said before First Marblehead
24· · · · Q· · And is it your understanding that the      24· ·Data Services was involved in the administration of


                                                                                          800.211.DEPO (3376)
                                                                                          EsquireSolutions.com               YVer1f
Case 1-17-01005-ess             Doc 245-12         Filed 07/13/20              Entered 07/13/20 14:41:38


JOHN HUPALO VOLUME I                                                                           November 19, 2019
GOLDEN vs NAT L COLLEGIATE STUDENT LOAN                                                                   89–92
                                                Page 89                                                              Page 91
·1· ·the trust.                                           ·1· ·going to evaporate.
·2· · · · Q· · Okay.· And what is your understanding of   ·2· · · · Q· · Did the TERI bankruptcy have an immediate
·3· ·what First Marblehead Data Services did to           ·3· ·negative impact on First Marblehead's business?
·4· ·administer the trust?                                ·4· · · · · · ·MR. FONTINELLI: Objection.
·5· · · · A· · As we said before, they collected the data ·5· · · · · · ·THE WITNESS:· I would say yes.
·6· ·on performance of the trust, meaning cash flow,      ·6· ·BY MR. FREIBERG:
·7· ·principle and interest coming in, outflows and then  ·7· · · · Q· · Did the TERI guaranty have an immediate
·8· ·reported as we saw on the document on the financial ·8· ·negative impact on First Marblehead's relationships
·9· ·status of the trust, assets and liabilities.         ·9· ·with its clients, the lending banks?
10· · · · Q· · Sir, by the way, do you have an            10· · · · A· · Yes.
11· ·understanding of the -- whether or not TERI was      11· · · · Q· · And for how long did that negative impact
12· ·using not-for-profit mailing rates?                  12· ·last?
13· · · · A· · I have no idea.                            13· · · · A· · Well, it was also a combination of the
14· · · · Q· · Do you know if TERI was authorized for --  14· ·fact that the capital markets were beginning to
15· ·by the United States Postal Service to use           15· ·fail. So it was both the failure of TERI and also
16· ·not-for-profit mailing rates?                        16· ·the underlying issues within the capital markets
17· · · · A· · I don't know.                              17· ·that was a double whammy for First Marblehead.
18· · · · Q· · So we spoke a moment ago about the         18· · · · Q· · You are talking about just the economy --
19· ·increase in revenue between 2001 and 2008 -- First   19· · · · A· · I am talking about the collapse of the
20· ·Marblehead revenue.                                  20· ·private -- of the asset backed securities market
21· · · · A· · Right.· Well, I am going to say this with  21· ·that really began in December of 2007
22· ·a caveat.· Somewhere between 2007 and 2009 the       22· · · · Q· · The collapse of the mortgage backed
23· ·revenues declined pretty substantially.· So when you 23· ·securities market?
24· ·said '08, the slope may have changed considerably in 24· · · · A· · Of all asset backed securities mortgages

                                                Page 90                                                        Page 92
·1· ·the beginning of 2008.· I just don't recall when       ·1· ·led by the mortgage backs.· I say that because it's
·2· ·that happened.                                         ·2· ·clearly difficult to have both the asset guaranty
·3· · · · Q· · Maybe the best thing to do is to flip        ·3· ·and the takeout market collapse at the same time.
·4· ·right to the TERI bankruptcy.· You were still          ·4· ·So when you try to say which is more material, they
·5· ·employed by First Marblehead when TERI filed           ·5· ·were both equally devastating.
·6· ·bankruptcy; is that correct?                           ·6· · · · Q· · Okay.· To First Marblehead?
·7· · · · A· · Do you remember what date that was?          ·7· · · · A· · Correct.
·8· · · · Q· · It was in April of 2008.                     ·8· · · · Q· · Did the TERI bankruptcy have a material
·9· · · · A· · In '08, yes, I was there.                    ·9· ·negative impact on the client relationships that
10· · · · Q· · In April 2008 TERI filed for reorgization?   10· ·First Marblehead had with the banks?
11· · · · A· · Yes.                                         11· · · · A· · Well, this is why I started down the path
12· · · · Q· · What was the cause of that, to your          12· ·of the collapse of the asset backed securities
13· ·understanding?                                         13· ·market because they occurred almost simultaneously.
14· · · · A· · At that time their projections for their     14· ·So there was that news going to the client base.· So
15· ·reserve balances was turning negative.                 15· ·I don't know which was more material to them.· But
16· · · · Q· · Okay.· Was this a concern for First          16· ·they were both significant events.
17· ·Marblehead?                                            17· · · · Q· · As a result of the TERI bankruptcy a
18· · · · A· · Absolutely.                                  18· ·number of the banks terminated their loan programs
19· · · · Q· · A significant concern?                       19· ·with TERI?
20· · · · A· · Yes.                                         20· · · · A· · That's correct.
21· · · · Q· · A material concern?                          21· · · · Q· · Which banks terminated their loan programs
22· · · · A· · I would say so.                              22· ·with TERI?
23· · · · Q· · Why?                                         23· · · · A· · I don't recall specifically which banks
24· · · · A· · Because the source of their guaranty was     24· ·but there was also, again, this relationship with


                                                                                             800.211.DEPO (3376)
                                                                                             EsquireSolutions.com              YVer1f
Case 1-17-01005-ess                 Doc 245-12            Filed 07/13/20           Entered 07/13/20 14:41:38


JOHN HUPALO VOLUME I                                                                                  November 19, 2019
GOLDEN vs NAT L COLLEGIATE STUDENT LOAN                                                                          93–96
                                                      Page 93                                                          Page 95
·1· ·Capital Markets.                                           ·1· · · · · · ·THE WITNESS:· It with the collapse of the
·2· · · · Q· · And at some point First Marblehead was           ·2· ·asset backed securities market were significant
·3· ·unable to securitize any loans.· So they were unable       ·3· ·factors.
·4· ·to make good on their repurchase -- or the purchase        ·4· ·BY MR. FREIBERG:
·5· ·agreement, if you will, with the banks?                    ·5· · · · Q· · The TERI bankruptcy decreased First
·6· · · · A· · So as we said earlier, First Marblehead          ·6· ·Marblehead's ability to access the securitization
·7· ·didn't own the loans.· The banks did.· There was a         ·7· ·market; is that fair to state?
·8· ·contract -- now that I am thinking this through a          ·8· · · · A· · And, again, to draw the line, the market
·9· ·little bit more -- there was a contract with the           ·9· ·was either partially or fully impaired at that
10· ·banks that First Marblehead would repurchase those         10· ·point.· So there wasn't a market to access.
11· ·loans in a given period.                                   11· · · · · · ·As a capital markets expert, what you
12· · · · · · ·And if they could not make that purchase         12· ·would do in that situation if it were literally just
13· ·there was -- there was some default provisions.· And       13· ·the TERI guaranty then you would want to go to a
14· ·all of that was happening at about the same time, if       14· ·self-guaranty or some other financing mechanism
15· ·I remember, as the TERI bankruptcy.                        15· ·because your business is now dependent on that.· And
16· · · · Q· · Okay.· But going back to my question, the        16· ·that wasn't an option for First Marblehead any
17· ·TERI bankruptcy had an effect on First Marblehead's        17· ·longer becaues of the collapse of the asset backed
18· ·relationship with the banks?                               18· ·securities market.
19· · · · A· · Yes.                                             19· · · · Q· · Do you recall when the last securitization
20· · · · Q· · And one of the results of that was that          20· ·was done by First Marblehead of the student loans?
21· ·the banks terminated their agreements with TERI --         21· · · · A· · I believe it was 2008 --
22· · · · A· · Yes.                                             22· · · · Q· · Okay.
23· · · · Q· · ·-- the guaranty agreements?                     23· · · · A· · ·-- in the fall perhaps just before I
24· · · · A· · Yes.                                             24· ·left.

                                                      Page 94                                                      Page 96
·1· · · · Q· · And am I correct that following the TERI       ·1· · · · Q· · And do you know whether or not after TERI
·2· ·bankruptcy the loan volume that First Marblehead was ·2· ·filed bankruptcy was First Marblehead ever able to
·3· ·securitizing dropped dramatically; is it fair to           ·3· ·engage in other securitizations of student loans?
·4· ·state?                                                     ·4· · · · A· · I don't believe they did after that.
·5· · · · A· · Again, there was a coincident effect on          ·5· · · · Q· · Is it fair to state, though, that the TERI
·6· ·their inability to purchase any loans.· So to your         ·6· ·bankruptcy negatively impacted the number of loans
·7· ·question, the forward volume was not filling but in        ·7· ·available to First Marblehead for securitization? I
·8· ·equal proportion there was an inability to                 ·8· ·get that there were a lot of things going on --
·9· ·securitize loans currently on the bank balance             ·9· · · · A· · Yes.· And I'm -- in the timeframe, I am
10· ·sheet.                                                     10· ·just trying to remember because what happened
11· · · · · · ·So the banks were not in a position to           11· ·between December 2007 and when I left in October of
12· ·originate more loans because they were now out of          12· ·2008 there are many events in two different markets.
13· ·balance sheet capacity to themselves.                      13· ·And the exact timing doesn't -- I am not clear on
14· · · · Q· · Okay.                                            14· ·what the exact timing was.· But the point I am
15· · · · A· · So the whole system just ground to a halt.       15· ·trying to make it might not have mattered if TERI's
16· · · · Q· · But one of the reasons that you say the          16· ·guaranty was pristine.· There wouldn't have been a
17· ·whole system ground to a halt was the fact that            17· ·market to sell those loans into to begin with.
18· ·TERI declared bankruptcy?                                  18· · · · Q· · Okay.· The bankruptcy, though, obviously
19· · · · · · ·MR. FONTINELLI: Objection.                       19· ·affected TERI's ability to satisfy its guaranty
20· · · · · · ·THE WITNESS:· That was a -- yes.                 20· ·obligations?
21· ·BY MR. FREIBERG:                                           21· · · · · · ·MR. FONTINELLI: Objection.
22· · · · Q· · Was that a significant reason why                22· · · · · · ·THE WITNESS:· Yes.
23· ·everything ground to a halt?                               23· ·BY MR. FREIBERG:
24· · · · · · ·MR. FONTINELLI: Objection.                       24· · · · Q· · And that had a negative impact on First


                                                                                                 800.211.DEPO (3376)
                                                                                                 EsquireSolutions.com            YVer1f
Case 1-17-01005-ess                Doc 245-12            Filed 07/13/20             Entered 07/13/20 14:41:38


JOHN HUPALO VOLUME I                                                                                 November 19, 2019
GOLDEN vs NAT L COLLEGIATE STUDENT LOAN                                                                        97–100
                                                        Page 97                                                       Page 99
·1· ·Marblehead's business?· It may not have been the             ·1· ·trusts?
·2· ·sole --                                                      ·2· · · · A· · The trusts were unlikely to get the
·3· · · · · · ·MR. FONTINELLI: Objection.                         ·3· ·reimbursement for the defaults that were occurring
·4· · · · · · ·THE WITNESS:· Yes.                                 ·4· ·on the portfolios.
·5· ·BY MR. FREIBERG:                                             ·5· · · · Q· · Did the TERI bankruptcy have an effect on
·6· · · · Q· · ·-- effect but --                                  ·6· ·the ratings for the trust?
·7· · · · A· · It had an impact.                                  ·7· · · · · · ·MR. FONTINELLI: Objection.
·8· ·BY MR. FREIBERG:                                             ·8· · · · · · ·THE WITNESS:· Yes.· But, again, in hand
·9· · · · Q· · Would you say that the impact it had was a         ·9· ·with the collapse of the underlying securities
10· ·material impact?                                             10· ·marketplace.
11· · · · · · ·MR. FONTINELLI: Objection.                         11· ·BY MR. FREIBERG:
12· · · · · · ·THE WITNESS:· We said this before,                 12· · · · Q· · How were the ratings for the trust
13· ·significant, material -- yes, it had a -- it had a           13· ·affected?· Were they downgraded?
14· ·significant impact.· But as I also said, if it were          14· · · · A· · They would have been downgraded.
15· ·a singular issue there may have been a way to                15· · · · Q· · Okay.· And, again, I understand you can't
16· ·structure around that because of the asset backed            16· ·say it's exclusively the TERI bankruptcy that caused
17· ·securities market place collapse that was a double           17· ·that.· But in your mind was it your understanding
18· ·whammy.                                                      18· ·the TERI bankruptcy had some effect on the
19· ·BY MR. FREIBERG:                                             19· ·downgrading of the --
20· · · · Q· · The TERI bankruptcy had an effect on First         20· · · · · · ·MR. FONTINELLI: Objection.
21· ·Marblehead's ability to realize the cost of                  21· · · · · · ·THE WITNESS:· Yes.
22· ·reimbursement and the guaranty obligations of TERI,          22· ·BY MR. FREIBERG:
23· ·obviously?                                                   23· · · · Q· · Would you say that the TERI bankruptcy had
24· · · · · · ·MR. FONTINELLI: Objection to form.                 24· ·a material effect on the ratings for the trusts?

                                                      Page 98                                                             Page 100
·1· · · · · · ·THE WITNESS:· Yes.                                 ·1· · · · · · ·MR. FONTINELLI: Objection.
·2· ·BY MR. FREIBERG:                                             ·2· · · · · · ·THE WITNESS:· I would say it was
·3· · · · Q· · How did that effect the trusts?                    ·3· ·significant.
·4· · · · · · ·MR. FONTINELLI: Objection.· Foundation.            ·4· ·BY MR. FREIBERG:
·5· · · · · · ·THE WITNESS:· I'm sorry.· How did the --           ·5· · · · Q· · And the ratings -- the credit ratings for
·6· ·BY MR. FREIBERG:                                             ·6· ·First Marblehead, what happened to them after 2008?
·7· · · · Q· · Okay.· So let me step back a second.· The          ·7· · · · A· · If I recall correctly, First Marblehead
·8· ·TERI bankruptcy had a negative impact on First               ·8· ·was never a rated entity.
·9· ·Marblehead's ability to realize the cost of                  ·9· · · · Q· · Okay.· ·Did the TERI bankruptcy have an
10· ·reimbursement from the guaranty obligation?                  10· ·effect on the stock price for First Marblehead's
11· · · · · · ·MR. FONTINELLI: Objection.· Form.                  11· ·stock?
12· · · · · · ·THE WITNESS:· You said the cost of                 12· · · · A· · I will say that it was a contributing
13· ·reimbursement?                                               13· ·factor, again, in all of the news to the declining
14· ·BY MR. FREIBERG:                                             14· ·equity price.
15· · · · Q· · Maybe I should phrase it differently.· The         15· · · · Q· · What was the decline in the equity price?
16· ·TERI bankrupty had a negative impact on First                16· ·Was it significant?
17· ·Marblehead's ability to realize the guaranty                 17· · · · A· · Material.· Significant.· Yes.
18· ·obligations of TERI?                                         18· · · · Q· · Would you state that the TERI bankruptcy
19· · · · A· · Correct.                                           19· ·was a materially contributing factor in the decline
20· · · · Q· · And did that have an impact on the trusts?         20· ·in the equity price for First Marblehead?
21· · · · · · ·MR. FONTINELLI: Objection.                         21· · · · A· · It's hard for me to say that because I
22· · · · · · ·THE WITNESS:· Yes.                                 22· ·don't know precisely why there were so many sellers,
23· ·BY MR. FREIBERG:                                             23· ·but there were sellers.
24· · · · Q· · And what was the impact it had on the              24· · · · Q· · Fair enough.· Did the value of the debt


                                                                                                 800.211.DEPO (3376)
                                                                                                 EsquireSolutions.com                YVer1f
Case 1-17-01005-ess                 Doc 245-12        Filed 07/13/20          Entered 07/13/20 14:41:38


JOHN HUPALO VOLUME I                                                                          November 19, 2019
GOLDEN vs NAT L COLLEGIATE STUDENT LOAN                                                                101–104
                                                       Page 101                                                   Page 103
·1· ·securities -- maybe the -- let's stick with that.          ·1· · · · · · ·MR. FONTINELLI: Objection.
·2· ·The value of the debt securities that the trust were       ·2· · · · · · ·THE WITNESS:· To offer guaranties?
·3· ·issuing, did those values decrease after TERI's            ·3· ·BY MR. FREIBERG:
·4· ·bankruptcy?                                          ·4· · · · Q· · Yes.
·5· · · · A· · They would have declined, sure.            ·5· · · · A· · Yes.
·6· · · · Q· · Did the TERI bankruptcy have an effect on  ·6· · · · Q· · And is it correct that First Marblehead's
·7· ·the decrease in the value of the debt securities     ·7· ·ability to offer guaranties for student loans was
·8· ·issued by the trust?                                 ·8· ·never replaced after the TERI bankruptcy?
·9· · · · A· · Yes.                                       ·9· · · · A· · I believe that's true.· Although First
10· · · · Q· · Would you state that that was a material   10· ·Marblehead in its predecessor company -- successor
11· ·effect?                                              11· ·company, rather, I'm sorry, continues to have a
12· · · · · · ·MR. FONTINELLI: Objection.                 12· ·business.
13· · · · · · ·THE WITNESS:· My answer is the same as the 13· · · · Q· · Did the TERI bankruptcy have an effect on
14· ·equity.· I don't know what caused all the sellers -- 14· ·First Marblehead's revenues in part because the
15· ·in the equity market there were short sellers which  15· ·structural advisory fees were no longer available to
16· ·drove prices as well.· So there were more market     16· ·First Marblehead?
17· ·dynamics then you would have seen in the debt        17· · · · · · ·MR. FONTINELLI: Objecion.
18· ·securities market then.                              18· · · · · · ·THE WITNESS:· That's correct.
19· ·BY MR. FREIBERG:                                     19· ·BY MR. FREIBERG:
20· · · · Q· · But we can agree that the TERI bankruptcy  20· · · · Q· · And was that a significant decrease in the
21· ·had an effect that decreased --                      21· ·revenues?
22· · · · A· · Yes.                                       22· · · · · · ·MR. FONTINELLI: Objection.
23· · · · Q· · -- the value of the debt securities?       23· · · · · · ·THE WITNESS:· As you said before, yes.
24· · · · · · ·MR. FONTINELLI:· Objection.                24· ·BY MR. FREIBERG:

                                                  Page 102                                                      Page 104
·1· · · · · · ·THE WITNESS:· Yes.                         ·1· · · · Q· · Did the -- as far as you know, did the
·2· ·BY MR. FREIBERG:                                     ·2· ·TERI bankruptcy have an effect on the value of the
·3· · · · Q· · And when I say value -- and this may not   ·3· ·residuals in the trust that First Marblehead owned?
·4· ·be the right word -- did the offering price for the  ·4· · · · A· · Yes.
·5· ·debt securities decrease after the TERI bankruptcy?  ·5· · · · Q· · Can you quantify it at all?
·6· · · · · · ·MR. FONTINELLI: Objection.                 ·6· · · · A· · No, other than it was significant, as with
·7· · · · · · ·THE WITNESS:· Again, for securities that   ·7· ·the revenue.
·8· ·were already in the marketplace they would have been ·8· · · · Q· · The value of the debt securities, as you
·9· ·trading in the secondary market.· We wouldn't have   ·9· ·said, they decreased after the TERI bankruptcy.· Do
10· ·had any insight into that.· For the offering of a    10· ·you know if they have ever recovered?
11· ·new securities offering then, obviously, there was a 11· · · · A· · I don't.
12· ·question of just access.                             12· · · · Q· · After the TERI bankruptcy -- and I
13· ·BY MR. FREIBERG:                                     13· ·understand you left shortly -- within the year.· Do
14· · · · Q· · Mr. Hupalo, how did the TERI bankruptcy    14· ·you know whether or not First Marblehead refined or
15· ·effect First Marblehead's revenue?                   15· ·changed its business at all?
16· · · · A· · As we said before, because of the          16· · · · A· · I know anectodally that it did.
17· ·dependence on the guaranty and the other events that 17· · · · Q· · Okay.· How?
18· ·we have been talking about there was a decline.      18· · · · A· · That I don't know.
19· · · · Q· · A significant decline?                     19· · · · Q· · Do you know antidotally whether or not
20· · · · A· · Yes, a significant material decline.       20· ·First Marblehead uses any guarantor now?
21· · · · Q· · Mr. Hupalo, would it be fair to state that 21· · · · A· · I am not familiar with the current
22· ·the TERI bankruptcy resulted in the loss of First    22· ·business model.
23· ·Marblehead's ability to offer guaranties for student 23· · · · Q· · Do you know if the business model that
24· ·loans?                                               24· ·First Marblehead implemented after the TERI


                                                                                          800.211.DEPO (3376)
                                                                                          EsquireSolutions.com               YVer1f
Case 1-17-01005-ess               Doc 245-12          Filed 07/13/20                 Entered 07/13/20 14:41:38


JOHN HUPALO VOLUME I                                                                                November 19, 2019
GOLDEN vs NAT L COLLEGIATE STUDENT LOAN                                                                      105–108
                                                    Page 105                                                             Page 107
·1· ·bankruptcy required a guaranty from third parties         ·1· · · · A· · The report the annual financial report of
·2· ·for its private label loans?                              ·2· ·the company.
·3· · · · A· · I don't know.                                   ·3· · · · Q· · And is the Annual Report also published
·4· · · · Q· · Do you know if First Marblehead changed         ·4· ·for purposes of people who are interested in
·5· ·its underwriting criteria at all?                         ·5· ·purchasing the equity, the stock of a company?
·6· · · · A· · I don't know.                                   ·6· · · · A· · Yes.
·7· · · · Q· · Sir, were you at all involved in the            ·7· · · · Q· · And did you have any role in this
·8· ·preparation of the 10K's for First Marblehead?            ·8· ·particular 10K Annual Report?
·9· · · · A· · Yes.                                            ·9· · · · A· · Yes, I would have.
10· · · · · · ·MR. FREIBERG:· What I am going to do is         10· · · · Q· · Okay.· And what was your role?
11· ·mark as the next exhibit -- it will be the 2006           11· · · · A· · I was the chief financial officer at the
12· ·Annual Report and 10K.                                    12· ·time.
13· · · · · · ·(Exhibit No. 7, First Marblehead 2006           13· · · · Q· · And if you look at Page No. 94?
14· ·Annual Report and 10K marked for identification.)         14· · · · A· · Yes.
15· · · · · · ·MR. FREIBERG:· And, Chris, for the record       15· · · · Q· · You amongst other officers of the
16· ·what we have marked as Exhibit No. 6 is the 2006          16· ·corporation signed this document?
17· ·Annual Report and 10K.· And then No. 8 is the 2008        17· · · · A· · That's correct.
18· ·Annual Report and 10k.· And both are for First            18· · · · Q· · For the purposes of filing it with the
19· ·Marblehead.                                               19· ·Securities Exchange Commission?
20· · · · · · ·(Exhibit No. 8, First Marblehead 2008           20· · · · A· · That's correct.
21· ·Annual Report and 10K, marked for identification.)        21· · · · Q· · In order to avoid a lot of back and forth
22· · · · · · ·MR. FONTINELLI:· Okay.· Do you have bate        22· ·between us, would it be fair to state that everyone
23· ·numbers?                                                  23· ·in the Form 10K is true and correct to the best of
24· · · · · · ·MR. FREIBERG:· No.· These are -- were           24· ·your knowledge?
                                                  Page 106                                                               Page 108
·1· ·pulled off of the First Marblehead website.· They         ·1· · · · A· · Yes.
·2· ·weren't produced.                                         ·2· · · · Q· · And First Marblehead was under a duty to
·3· · · · · · ·MR. FONTINELLI: Thank you.                      ·3· ·report things accurately and correctly to the
·4· · · · · · ·THE COURT REPORTER:· Should I hand the          ·4· ·Securities Exchange Commission?
·5· ·witness No. 8 also?                                       ·5· · · · A· · Absolutely.
·6· · · · · · ·MR. FREIBERG:· Yes, why don't you -- I am       ·6· · · · Q· · And this particular Annual Report talks a
·7· ·going to just ask him to take a look at No. 8.            ·7· ·lot about the effect of the TERI bankruptcy and the
·8· · · · · · ·MR. FIALKOW:· Just No. 8?· So you don't         ·8· ·seizing of the credit markets that you were
·9· ·want him to look at No. 7?                                ·9· ·mentioning earlier?
10· · · · · · ·MR. FREIBERG:· No.                              10· · · · A· · Yes.· The cover letter was a little trip
11· · · · · · ·MR. FIALKOW:· Okay.                             11· ·down memory lane.
12· ·BY MR. FREIBERG:                                          12· · · · Q· · The cover letter --
13· · · · Q· · I'm obviously not going to ask you              13· · · · A· · Dear stock holders.· From Mr. Tora, the
14· ·everything about that.· But maybe you could just          14· ·chairman of the board.
15· ·tell me what you are looking at there?                    15· · · · Q· · You are referring to the third actual page
16· · · · A· · This is the First Marblehead Corporation        16· ·of the --
17· ·Annual Report 2008 that is dated September 19th,          17· · · · A· · That's correct.· The shareholder's letter
18· ·2008.                                                     18· ·is typically written by the CEO.· But in this case
19· · · · Q· · And just so everyone understands this is a      19· ·it was extraordinary because there was a replacement
20· ·report that is made available to shareholders?            20· ·of the CEO and the return of Mr. Myers and departure
21· · · · A· · Correct.                                        21· ·of -- you know, it was quite an eventful period,
22· · · · Q· · And also attached to it is the Form 10K?        22· ·let's just say.
23· · · · A· · That is correct.                                23· · · · Q· · Yes.· The cover letter you are talking
24· · · · Q· · And what is the Form 10K?                       24· ·about in the second paragraph it mentions the TERI


                                                                                               800.211.DEPO (3376)
                                                                                               EsquireSolutions.com                 YVer1f
Case 1-17-01005-ess                    Doc 245-12             Filed 07/13/20                Entered 07/13/20 14:41:38


JOHN HUPALO VOLUME I                                                                                     November 19, 2019
GOLDEN vs NAT L COLLEGIATE STUDENT LOAN                                                                           109–112
                                                           Page 109                                                   Page 111
·1· ·bankruptcy?                                                      ·1· ·TERI bankruptcy that had a very negative material
·2· · · · A· · That's correct.                                        ·2· ·impact on.· And I can't parse out for you the value
·3· · · · Q· · It says, and I will just quote, in April               ·3· ·of each one of those.· But in culmination or in
·4· ·the Education Resources Instititute Inc., TERI,                  ·4· ·totality you see the numbers there.
·5· ·filed a voluntary petition for reorganization under              ·5· · · · Q· · I completely understand you can't parse
·6· ·Chapter 11 of the United States Bankruptcy Code,                 ·6· ·out the numbers.· But I guess to try to round this
·7· ·which had an immediate negative impact on our                    ·7· ·out would you agree that the TERI bankruptcy had a
·8· ·business and client relationships.                               ·8· ·negative material impact on total revenues and net
·9· · · · · · ·That's what we were talking about earlier.             ·9· ·income for First Marblehead?
10· · · · A· · That's what we were talking about before.              10· · · · A· · I would agree that.· But when I look at
11· ·Correct.                                                         11· ·the approximate number of student applications
12· · · · Q· · Okay.· If you could look at Page No. 2 of              12· ·processed I saw an increase over 2007 to 2008, which
13· ·the --                                                           13· ·really surprised me.
14· · · · A· · The numbered Page No. 2?                               14· · · · Q· · Why does that surprise you?
15· · · · Q· · Yes.                                                   15· · · · A· · Because with the TERI bankruptcy in April,
16· · · · A· · Okay.· Yes.· There is a TERI bankruptcy                16· ·you know, four or five months into the fiscal year,
17· ·note in the right margin?· Is that the right page?               17· ·whatever it was -- or June, almost a full year in
18· · · · · · ·MR. FIALKOW:· This handwriting?                        18· ·there is still an increase fairly -- a substantial
19· · · · · · ·THE WITNESS:· Yes.                                     19· ·increase in the number of applications processed.
20· · · · · · ·MR. FREIBERG:· Off the record.                         20· · · · Q· · If you could turn to Page No. 76 of the
21· · · · · · ·(Discussion off the record.)                           21· ·document?
22· ·BY MR. FREIBERG:                                                 22· · · · A· · (Witness complies.)· Okay.· Thank you.
23· · · · Q· · The page that we were just looking at --               23· · · · Q· · This is a discussion of the residuals.
24· · · · A· · Yes.                                                   24· · · · A· · Yes.

                                                           Page 110                                                          Page 112
·1· · · · Q· · -- it has, I guess, sort of a what I call              ·1· · · · Q· · If you could just read through that real
·2· ·a summary of revenue and income?                                 ·2· ·quick.· I know you were --
·3· · · · A· · Correct.                                               ·3· · · · A· · Yes.· Thank you.· It will refresh me.
·4· · · · Q· · Is it correct that in 2007 the total                   ·4· ·(Witness complies.)· Okay.
·5· ·revenues for the First Marblehead were $880,704,000? ·5· · · · Q· · So there is some financial information
·6· · · · A· · That's what it says, yes, sir.                         ·6· ·here about the value of the residuals that First
·7· · · · Q· · And the total revenues in 2008 were a loss             ·7· ·Marblehead -- by the way, you may or may not be able
·8· ·of $28,409,000?                                                  ·8· ·to answer this.· But was the residual interest that
·9· · · · A· · Correct.                                               ·9· ·TERI and First Marblehead had in the trusts was it
10· · · · Q· · And then the same numbers are there for                10· ·somehow divided up between First Marblehead and
11· ·net income?                                                      11· ·TERI?
12· · · · A· · Correct.                                               12· · · · · · ·MR. FONTINELLI: Objection.
13· · · · Q· · Could you tell us in your own words how                13· · · · · · ·THE WITNESS:· Yes.· As I said earlier, I
14· ·the TERI bankruptcy affected the total revenues and              14· ·didn't recall that there was the TERI residuals.· So
15· ·the net income?                                                  15· ·I don't recall specifically what the -- how it was
16· · · · A· · Well, again, it's difficult to parse out               16· ·divided.· I just don't remember.
17· ·who is responsible for what.· But we saw again in                17· ·BY MR. FREIBERG:
18· ·the cover letter there is also a discussion about                18· · · · Q· · So you can't tell us whether, for example,
19· ·the investment from Goldman Sachs Capital Parters,               19· ·First Marblehead was granted -- and I am going to
20· ·GSCP, of some 190 or so million dollars which had                20· ·make some numbers up -- 100 percent of the residual
21· ·been in the works for some period prior to that.                 21· ·but then assigned some of it to TERI?
22· · · · · · ·So what this document unfortunately                    22· · · · · · ·MR. FONTINELLI: Objection.
23· ·reflects very clearly is that over the period of                 23· · · · · · ·THE WITNESS:· I vaguely remember that
24· ·that year there are a number of events including the             24· ·there was some formula for that but I don't remember


                                                                                                     800.211.DEPO (3376)
                                                                                                     EsquireSolutions.com               YVer1f
Case 1-17-01005-ess                Doc 245-12           Filed 07/13/20            Entered 07/13/20 14:41:38


JOHN HUPALO VOLUME I                                                                              November 19, 2019
GOLDEN vs NAT L COLLEGIATE STUDENT LOAN                                                                    113–116
                                                      Page 113                                                      Page 115
·1· ·what that was.· Like you said that --                       ·1· ·private level trust.
·2· ·BY MR. FREIBERG:                                            ·2· · · · · · ·So when I read through this I remembered
·3· · · · Q· · Some formula for the division?                    ·3· ·quickly it was an awful lot and many moving parts,
·4· · · · A· · Correct.                                          ·4· ·including the valuation of the TERI guaranty.· But
·5· · · · Q· · And, again, and after -- the division of          ·5· ·there was nothing disclosed here saying, that I
·6· ·the residual interest between First Marblehead and          ·6· ·read, that said that at that time we believed that
·7· ·TERI?                                                       ·7· ·the TERI bankruptcy was a material driver of the
·8· · · · A· · That's correct.                                   ·8· ·reduction in the residual value.
·9· · · · Q· · But you do recall there was some mechanism        ·9· · · · Q· · But it had some --
10· ·by which it was --                                          10· · · · A· · Yes.
11· · · · A· · As you were describing that example I             11· · · · Q· · -- some effect.· It was --
12· ·would say that there was some -- there had to be            12· · · · A· · Yes.
13· ·some formula in order for TERI to report valuation          13· · · · Q· · ·-- some driver, so to speak?
14· ·of residual and First Marblehead to also report some        14· · · · · · ·MR. FONTINELLI: Objection.
15· ·valuation of the residual.· So there is clearly             15· · · · · · ·THE WITNESS:· Absolutely.
16· ·something there.                                            16· ·BY MR. FREIBERG:
17· · · · Q· · Okay.                                             17· · · · Q· · To use your words.
18· · · · A· · I just don't recall what it was.                  18· · · · A· · Yes.
19· · · · Q· · Okay. And the value of the residuals that         19· · · · Q· · Rather than going through all of the pages
20· ·First Marblehead had changed dramatically as a              20· ·of these 10K's would it be fair to state that these
21· ·result -- in 2008?                                          21· ·documents, the 10K's and the Annual Reports are
22· · · · A· · Yes.                                              22· ·business records of First Marblehead?
23· · · · Q· · And the change was $584,000,000 decrease          23· · · · · · ·MR. FIALKOW:· Objection.
24· ·in the value; is that fair to state?                        24· · · · · · ·THE WITNESS:· Yes.

                                                      Page 114                                                         Page 116
·1· · · · A· · Based on the numbers, yes.                        ·1· ·BY MR. FREIBERG:
·2· · · · Q· · And the TERI bankruptcy had some effect on        ·2· · · · Q· · Were they prepared in the regular course
·3· ·that?                                                       ·3· ·of business --
·4· · · · A· · Yes.                                              ·4· · · · A· · Yes.
·5· · · · Q· · Would you consider that to be a material          ·5· · · · Q· · ·-- of First Marblehead Corporation?
·6· ·effect?                                                     ·6· · · · A· · Yes.
·7· · · · A· · Well, as I read through here the -- there         ·7· · · · Q· · And were the people who were writing and
·8· ·were -- the way to think about this when you are            ·8· ·recording the information in the 2006 and 2008 10K's
·9· ·reporting on an annual basis that there were                ·9· ·and annual reports were they required to write and
10· ·residuals which we had booked previously and then           10· ·record that information in a truthful and accurate
11· ·had to market for that particular period.                   11· ·manner?
12· · · · · · ·And then there were the residuals that            12· · · · A· · Yes.
13· ·were booked as a result of new transaction.· And for        13· · · · Q· · And were they required to report that
14· ·each one of those there were assumptions made,              14· ·information -- record that information at or near
15· ·again, mostly done by the work of the accountants,          15· ·the time that the information was gathered?
16· ·and with the data about what the performance was in         16· · · · A· · Yes.
17· ·the trust, what the appropriate discount rate would         17· · · · Q· · And you would agree that these are
18· ·be for those residuals.                                     18· ·business records of the company?
19· · · · · · ·So as I read this it refreshed me that            19· · · · A· · Yes.
20· ·there were significant material changes in the way          20· · · · Q· · A couple final questions.· Did the First
21· ·those computations were done as a result of the             21· ·Marblehead Corporation profit in anyway from the
22· ·change in the market and the issuance of the -- it          22· ·TERI guaranty?
23· ·says here, these triple B rated securitization --           23· · · · A· · It profited as we started as a result of
24· ·I'm sorry -- the triple B rated securities in the           24· ·the TERI guaranty being available, being respected


                                                                                              800.211.DEPO (3376)
                                                                                              EsquireSolutions.com                YVer1f
Case 1-17-01005-ess             Doc 245-12         Filed 07/13/20               Entered 07/13/20 14:41:38


JOHN HUPALO VOLUME I                                                                           November 19, 2019
GOLDEN vs NAT L COLLEGIATE STUDENT LOAN                                                                 117–120
                                               Page 117                                                             Page 119
·1· ·by the rating agencies and by investors.· And it       ·1· ·Freiberg.
·2· ·allowed First Marblehead to have a business model      ·2· · · · · · ·MR. FIALKOW:· Any questions on the phone?
·3· ·that resulted in both, as you saw in the financial     ·3· · · · · · ·MR. FONTINELLI:· Yes.· Could we just take
·4· ·statements, the upfront advisory fees and residuals    ·4· ·a 5 minute quick break?· Let me take a quick look at
·5· ·over time.· So, yes, I would say it was a factor in    ·5· ·my notes?
·6· ·the profit of the company.                             ·6· · · · · · ·MR. FREIBERG:· That's fine.
·7· · · · Q· · Was it a -- and I hate to beat a dead        ·7· · · · · · ·MR. FIALKOW:· Sure.
·8· ·horse.· Was it a significant factor in the profit of   ·8· · · · · · ·(Recess.)
·9· ·the company?                                           ·9· ·BY MR. FONTINELLI:
10· · · · · · ·MR. FONTINELLI: Objection.                   10· · · · Q· · Mr. Hupalo, thank you for your time. I
11· · · · · · ·THE WITNESS:· I think it was. Again, in      11· ·just have a quick question.· I think you testified
12· ·the same context as we have been talking about         12· ·something along the lines that you thought the bond
13· ·material significance before.· Yes, I think it was.    13· ·holders would be third party beneficiaries of the
14· ·You know, Mr. Torin, in this cover letter again, you   14· ·guaranty; is that right?
15· ·know, he said and we said here that the filing had a   15· · · · A· · That's correct.
16· ·significant negative impact on the estimated fair      16· · · · Q· · Okay.· Were you making that as a legal
17· ·value of the receivables, which was one of the         17· ·conclusion?
18· ·drivers of the profitability of the company.           18· · · · A· · No.· I was making it as a capital markets
19· ·BY MR. FREIBERG:                                       19· ·professional and knowing what bond holders -- one
20· · · · Q· · Okay.· Did the bond holders, those           20· ·of -- I have said a number of times during the
21· ·institutional investors who purchased the asset        21· ·course of the afternoon that bond holders would take
22· ·backed securities from the trusts, did they in any     22· ·into account several factors when they were
23· ·way profit from TERI's activities?                     23· ·considering purchase of a security.· And one of
24· · · · · · ·MR. FONTINELLI: Objection.                   24· ·those was the TERI guaranty, and we went through the

                                               Page 118                                                             Page 120
·1· · · · · · ·THE WITNESS:· When you say profit what       ·1· ·documents and saw credit enhancement.· And as a
·2· ·context do you mean?                                   ·2· ·result of that, sir, I said that I thought they were
·3· ·BY MR. FREIBERG:                                       ·3· ·beneficiaries of the guaranty.
·4· · · · Q· · Let me ask it a little differently.· Did     ·4· · · · Q· · Okay.· And you are not a trained lawyer;
·5· ·the bondholders, those investors that purchased the    ·5· ·right?
·6· ·asset backed securities, did they benefit in anyway    ·6· · · · A· · That's correct.
·7· ·from the TERI guaranty?                                ·7· · · · · · ·MR. FONTINELLI:· Okay.· I don't have any
·8· · · · · · ·MR. FONTINELLI: Objection.                   ·8· ·further questions.
·9· · · · · · ·THE WITNESS:· I would say they were          ·9
10· ·beneficiaries of the guaranty.                         10· ·(Deposition concluded at 3:38 p.m.)
11· ·BY MR. FREIBERG:                                       11
12· · · · Q· · I'm sorry.· They were --                     12
13· · · · A· · They were beneficiaries of the guaranty.     13
14· · · · Q· · And how so?                                  14
15· · · · A· · Because of the guaranty by its very nature   15
16· ·and the reserve fund that was pledged to the deal      16
17· ·to, as we saw before in the credit enhancement, it     17
18· ·is one of the factors that they would have             18
19· ·considered.                                            19
20· · · · · · ·MR. FREIBERG:· Sir, I have no further        20
21· ·questions for you.· But I do again want to thank you   21
22· ·for your time here today.· It's been a pleasure        22
23· ·meeting you.                                           23
24· · · · · · ·THE WITNESS:· You are welcome, Mr.           24


                                                                                             800.211.DEPO (3376)
                                                                                             EsquireSolutions.com
Case 1-17-01005-ess             Doc 245-12            Filed 07/13/20           Entered 07/13/20 14:41:38


JOHN HUPALO VOLUME I                                                                          November 19, 2019
GOLDEN vs NAT L COLLEGIATE STUDENT LOAN                                                                121–124
                                                  Page 121                                                     Page 123
·1· ·ESQUIRE ERRATA SHEET                                    ·1· · · · · · ·DEPOSITION ERRATA SHEET
·2· · · · · · ·Esquire Job ID: J4674329                      ·2· ·Page No._____Line No._____Change to:______________
·3· · · · · · ·Case Caption: Golden vs. Nat'l Collegiate     ·3· ·__________________________________________________
·4· · · · · · ·Student Loan Trust                            ·4· ·Reason for change:________________________________
·5                                                           ·5· ·Page No._____Line No._____Change to:______________
·6                                                           ·6· ·__________________________________________________
·7· · · · · · ·DECLARATION UNDER PENALTY OF PERJURY          ·7· ·Reason for change:________________________________
·8· · · · · · ·I declare under penalty of perjury that I     ·8· ·Page No._____Line No._____Change to:______________
·9· · · · have Read the entire transcript of my              ·9· ·__________________________________________________
10· · · · Deposition taken in the above-captioned matter     10· ·Reason for change:________________________________
11· · · · or the same has been read to me and the same is    11· ·Page No._____Line No._____Change to:______________
12· · · · true and accurate, save and except for changes     12· ·__________________________________________________
13· · · · and/or corrections, if any, as indicated by me     13· ·Reason for change:________________________________
14· · · · on the DEPOSITION ESQUIRE ERRATA SHEET hereof,     14· ·Page No._____Line No._____Change to:______________
15· · · · with the understanding that I offer these          15· ·__________________________________________________
16· · · · changes as if still under oath. Signed on the      16· ·Reason for change:________________________________
17· · · · ______ day of ____________, 2018.                  17· ·Page No._____Line No._____Change to:______________
18                                                           18· ·__________________________________________________
19· · · · ___________________________________                19· ·Reason for change:________________________________
20· · · · · · ·JOHN HUPALO                                   20· ·Page No._____Line No._____Change to:______________
21                                                           21· ·__________________________________________________
22                                                           22· ·Reason for change:________________________________
23                                                           23· ·SIGNATURE:_______________________DATE:___________
24                                                           24· · · · · · ·JOHN HUPALO

                                                  Page 122                                                     Page 124
·1· · · · · · ·DEPOSITION ERRATA SHEET                       ·1·   · · · · · · · · C E R T I F I C A T E
                                                             ·2·   ·COMMONWEALTH OF MASSACHUSETTS
·2· ·Page No._____Line No._____Change to:______________
                                                             · ·   ·SUFFOLK, SS.
·3· ·__________________________________________________      ·3
·4· ·Reason for change:________________________________      ·4·   · · · I, Laura Naylor, a Notary Public duly qualified
                                                             · ·   ·in and for the Commonwealth of Massachusetts, do
·5· ·Page No._____Line No._____Change to:______________      ·5·   ·hereby certify that:
·6· ·__________________________________________________      ·6
                                                             ·7·   · · · JOHN HUPALO, the witness whose testimony is
·7· ·Reason for change:________________________________      · ·   ·hereinbefore set forth, was duly sworn by me, and
·8· ·Page No._____Line No._____Change to:______________      ·8·   ·that such testimony is a true and correct
                                                             · ·   ·transcription of my original stenographic notes
·9· ·__________________________________________________      ·9·   ·taken in the foregoing matter, to the best of my
10· ·Reason for change:________________________________      · ·   ·knowledge, skill and ability.
                                                             10
11· ·Page No._____Line No._____Change to:______________
                                                             11·   · · · I further certify that I am neither attorney or
12· ·__________________________________________________      · ·   ·counsel for, nor related to or employed by any of
                                                             12·   ·the parties to the action in which this deposition
13· ·Reason for change:________________________________
                                                             · ·   ·is taken; and furthermore, that I am not a relative
14· ·Page No._____Line No._____Change to:______________      13·   ·or employee of any attorney or counsel employed by
15· ·__________________________________________________      · ·   ·the parties thereto or financially interested in the
                                                             14·   ·action.
16· ·Reason for change:________________________________      15·   · · · IN WITNESS WHEREOF, I have hereunto set my hand
17· ·Page No._____Line No._____Change to:______________      · ·   ·and affixed my Notarial seal this 7th day of
                                                             16·   ·December 2019.
18· ·__________________________________________________      17
19· ·Reason for change:________________________________      18·   · · · · · · · · · · ·Laura Naylor
                                                             19·   · · · · · · · · · · ·Notary Public
20· ·Page No._____Line No._____Change to:______________
                                                             20·   ·My Commission Expires:· April 12, 2022
21· ·__________________________________________________      21
                                                             22·   ·THE FOREGOING CERTIFICATION OF THIS TRANSCRIPT DOES
22· ·Reason for change:________________________________
                                                             · ·   ·NOT APPLY TO ANY REPRODUCTION AND/OR DISTRIBUTION OF
23· ·SIGNATURE:_______________________DATE:___________       23·   ·THE SAME BY ANY MEANS UNLESS UNDER THE DIRECT
                                                             · ·   ·CONTROL AND/OR SUPERVISION OF THE CERTIFYING COURT
24· · · · · · ·JOHN HUPALO
                                                             24·   ·REPORTER.


                                                                                          800.211.DEPO (3376)
                                                                                          EsquireSolutions.com
